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                     IN THE UNITED STATES BANKRUPTCY COURT

                        FOR THE DISTRICT OF SOUTH CAROLINA

 In Re:                                                        Case No. 20-02092-hb

Foxwood Hills Property Owners Association,
Inc.,                                                                Chapter 11

                    Debtor.

Foxwood Hills Property Owners Association,            Adversary Proceeding No. 20- __________
Inc.,

                      Plaintiff,
                                                                   COMPLAINT

vs.                                                 (Declaratory Judgment and Equitable Relief)
                                                                  (Quantum Meruit)
783-C LLC; 90 Essentials Group LLC; Fasih Al                        (Reformation)
Abidin; Antonio Jose Acosta; Joyce Adair; Reeves              (Cancellation/Rescission)
Adair; David Adams; Emilie Adams; Sarah             (Declaration that Relief Also Applies to John
Adams; Anne M Addy; Kenneth E Ahrens;                           Doe, Richard Roe and
Raashid M Aijaz; Jan Aiken; John M Aiken;                      Steven Stoe Defendants)
Lauretta Aiken; Aire Limpio Internat; Alexander
Akkurt; James A Aksamit; Brenda Albertson;
Robert K Albertson; Angeles Albornoz; Alexander
Aldana; Steve Aleksandrowicz; Debra L Alewine;
Gary Alexander; Myrtle Alexander; Grace A
Alexin; W. Edward Alford; Lois Alger; Wajid
Alishah; Barbara Allen; Brett Allen; Carolyn
Allen; Edna L Allen; Karen Allen; Kenneth J
Allen; Larry D Allen; Raymond L Allen; Steve
Allen; Christopher E Alleyne; Zachary S Allgood;
Larry B Allison; Earl Almond; Sam Alonso;
Calvert Alpert; Frances Alpert; Ronald D Althoff;
Fabio Alvarado; Alba Mery Alvarez; Paul Alves;
Patricia Isabel Amaya; American County Land;
Andrew Amunategui; Lee A Amunategui; Orazio
Andereasi; Charles Anders; Robert Glenn Anders;
Amanda Anderson; Hank B Anderson; Henry
Anderson; John C Anderson; Jonathan A
Anderson; Ken Anderson; Orazio Andreasi; Paola
Andreasi; Juan Andreu; Mary Andreu; David
Andrews; Hope Harrison Andrews; Marilynne
Andrews; Stephen F Angley; Charles M Anglin;
Jerry Anglin; Kevin Ansley; Michelle Ansley; S C
Antonoff; Joseph Walter Aragon; Dan Arcand;
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Nelson Arcoraci; Jairo Ivan Ardelnur Hadad; Ligia
Maria Ardila; Manuel T Ardila; Allen Argo;
Dennis Argo; Nancy Argo; Delores Arledge;
James M Arledge; Sandra K Arledge; Avery I
Armani; Daniel Arnold; Diana Arnold; James
Arnold; Jerry W Arnold; Melvin E Arnold;
Tammy Arnold; Stephen Arrington; Lynn
Arterburn; William L Arthmann; Asap Property
Service,LLC; Jesse Astorga; Edward Atchley;
Phyllis Atchley; Steven D Atkinson; Anne Atwell;
John Atwell; Aurora-Rivera Inc; Carlise Austin;
Victoria Austin; John R Autio; Avalon LLC;
Aaron Awtry; Malcolm M Babb; Bagal LLC;
Lettie F Bagwell; Danny Bailey; John A Bain;
Billy D Baker; Lisa Baker; Margaret Baker;
Odessa L Baker; Thomas V Baker; Anita Lynn
Baldwin; Connie Ball; Jacqueline Ball; Mark Ball;
Michael W Ball; Tamelis Ball; Wanda Ball; Jerry
L Balliew; Rita Balliew; Jim Balloch; Vera
Balloch; Steven Balog; Douglas R Baltzegar;
Laura Baltzegar; Abdalla M Bamashmus; Joseph
Banks; Thelma Banks; Beate Bannon; James G
Bannon; Kallah Barar; Richard Barbash; Wanda
Barbash; Gregory P Barhorst; Constanza Escobar
Barinas; Charles A Barker Jr; Betty Barlow; Verne
D Barlow; Elizabeth Barnard; Tertius Barnard;
Heather C Barnes; J A Barnes; Johnnie E Barnes;
Susan A Barnett; Barbara Barnstable; Richard
Barnstable; Donald Barnwell; Sue Barnwell;
Brenda Barrett; James B Bartlett; Wanda B
Bartlett; Charles R Barton; Wayne J Barton;
Kathrine Basanta-Henry; Linda Blanton Bass;
Thomas Lee Bass; James R Bates; Stacey Bates;
Ranae M Baxley; David Bayliss; Peggy R Bayliss;
Be A Man Buy Land LLC; Michael Beaudry; Alice
V Beaulieu; Carl J Beck; Frank T Becker; Janice
Becker; Jon J Becker; Susan Becker; Stacy
Beckett; Jessie L Beddingfield; Ludlow Beecher;
Amanda Belge; Arthur Belge; Darius Bell; James
A Bell; Jessie H Bell; Susan Bell; George Bellamy;
Willie M Belton; Belinda Belvin; Bryant Belvin;
Lucie Belzil; Christy Bencivenga-Burns; Michael
Benhamou; Barbara D Benifield; Eva Ruth
Bennett Cisson; Charles B Bennett; Charles S
Bennett; Robert J Bennett; Sandra Bennett; Evelyn
G Benson; Michael Beolet; Steven Beolet; Karen
Lee Beranger; Clara Berki; Monika Berki; John
Berry; Lawrence Berry; Mary Berwanger; Jorge



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Fernando Betancour; Tulio G Betancourt; Virginia
Bethany Shipp; Donald G Betts; Michael Beuadry;
Fred Bibbo; Donald L Bickers; Helen Bickers;
Chena Bickerton; David G Bickerton; Kimberly
Billington; John I Binion Jr; Mary J Binion;
Biscayne Group Holdings LLC; George Bishop;
Mary Bishop; Jeffrey Bissette; BL Homes USA,
LLC; Alonzo D Black; Ellen Black; Fredrick
Black; Janet H Black; Loretta Black; Robert L
Black; Wilma E Black; Fred C Blackmon; Lynn
Blackmon; Amy Blackwell; Daniel Blackwell;
Jeffrey Blackwell; Leesa Blackwell; Shawn F
Blackwell; William E Blackwell; Elaine Blair;
Gary Blair; Patrick Blaizel; Sherie L Blakely;
James E Blalock Jr; Richard P Blanken; Leandro
Bletran; Kay Blocker; James Bloomer, Jr.; Sonya
Bloomer; Blue Horizon Upstate, LLC; Blue Ocean
Partners LLC; David Charlie Blue Windburn;
George W Boatwright; Sheldon Bock; Don Bolia;
Roy H Bonds Jr; Bobby W Booker; Albert J Booth;
Frederick Booth; Jamie Booth; Terry Booth;
Norbert J Borke Jr; Karen Borke; Karen Borrali;
Alisha Boutwell; Dewitt Bowen; James W Bowen;
John Bowen; Raymond Bowen; Boy Scouts of
America; Jimmie Jean Boy; Frank D Boyd; Lewis
A Boyd; Loretta K Boyd; Lucille Boyd; Roland
Boyd; Tiffany Boyd; Allen C Bradham III; Samuel
L Bradshaw; Daniel Brady; Yvette Brady; Mona
Brandebourg; Richard Brandebourg; Caliph
Branham; Shelley Brannon; Breezy Oaks LLC;
Andrew Brett; Nancy Brett; Michael D
Breutzmann; Robin Breutzmann; Bob Brewer;
Morris A Brewer; Arthur Brewton; Lennetta
Brewton; Duane Bricker; Nancy Bridgeman; Scott
D Bridgeman; Ellie M Bridges; Fred T Bridwell;
Joel F Brier; Bessie Bright; Mark W Broadwell;
Naum Brodsky; Frances Brogdon; J. R. Brogdon;
Steven Bronstetter; Keith Brookerd; Kevin F
Brookins; Brooklyns Hope LLC; Bethany D.
Brooks; Jason Brooks; Jason M Brooks; Bryan S
Broome; Terrie Broussard; Andre Brown; Charles
M Brown; Christopher A Brown; Crystal Brown;
Curtis Brown; Cynthia Brown; David F Brown; E
H Brown; Eddie R Brown; Freddie Brown; Jon
Brown; Lewis L Brown; Mitch Brown; Nancy L
Brown; Pamela Brown; Paul Warren Brown;
Wendi Brown; William Brown; Yuri Brown;
Arthur R Bruce Jr; Samantha Bruce; Jack E Brucke



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Jr; David Brucke; Ana Bruno; Eleen Bruno;
Donald Bryan; Delano L Bryant Jr; A B Bryant;
Roy E Bryant; Donna Brycki; Robert Nicole
Brynn; Bruno Bucciarelli; Jeffrey M Buckalew;
Shirley Buckhalt; William D Buckhalt; Gig Norma
Budove Guthrie; C D Buff; Brenda Bugg; James
Bugg; Ralph Bull; Rebecca Bull; Pamela Bullard;
Steven L. Bullard; Rick H Bullock; Rocky W
Bunch; Steve Bunning; Teresa Bunning; Theodor
Burch; Loring R Burgess; Daniel Burke; Kathryn
Burke; Brian M Burleigh; Deborah Burleigh; Kay
Burnett; Randal N Burnett; Jimmy R Burnette;
Charles V Burrell; Helen Burris; David L Burt;
Mary Burton; J B Burts Jr; Jackie Busbee Jr.; Tona
Busbee; Alan Buseman; Van L Butler; Matthew
Butts; Tim A Butts; Christopher W Byrd; Joseph
D Byrd; Craige Byrnes; Elizabeth Cable; Henry
Colton Cable; Clarence Cady; Laura Cady; Betty
Cagle; Jessie L Cagle; Keith Cagle; Patsy Cagle;
Raymond Keith Cagle; Carolyn Cahill; William
Cahill; Juan C Caiazza; Estelia Caicedo; Henry
Caicedo; Lisa Calabrese; Carlos Calderon; Peggy
Calderon; Ricardo Calderon; Jason Caldwell;
Anthony J Cali; Carol Cali; George E Calvert Jr;
Galeano Camacho; Michael B Camak; Lorraine
Cangiane; Gerald L Cannon; Marjorie S Cannon;
Dinah Stephenson Cannuli; Sandra P Cantrell;
Steven Capps; Nicholas Carey; Patricia J Carey;
Ann Carlan; Tommy Carlan; Rolando Carlisle
Alvarez; J R Carlson; Barbara June Carlton;
Sandford Carlton; Tim Carlton; Nicholas B
Carlucci; Micheal E Carpenter; Jonnah D Carreon;
Grecia Carrero; Juan Carrero; Ubaldo Carrillo;
David Carrizales; Mace Carroll; Marguerite
Carroll; John L Carson; Cory Carter; Ezra W
Carter; Gary Carter; Gary Phillip Carter; Judith
Carter; Kathy D Carter; Lester J Carter; Yasmin
Carvajal; Julian D Carver; Perry Carver; Michelle
Casalez; Cherry Case; Diana Case; Randall Case;
Theron L Case; Patrick W Casey; Ernest T Cash;
Oscar Castaneda; Wilson Enrique Castaneda;
Sergio Castano; Gloria Castilla; Rodolfo Castillo;
Jose Antonio Castro; Charles F Catania; James D
Cater; Kathy Cater; Carl Caulder; Sandra Caulder;
CDM Property Management LLC; Mark Cebulski;
Matthew R Cebulski; Gelsomino Centanni; Glen G
Chabek; Daniel P Chamberlin; Susan M
Chamberlin; Edward H S Chambers; Eva



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Chambers; Michael W Chambers; James W
Champion; Phillip Champion; Todd J Champitto;
Alan Chancey; Barbara Chandler; Deborah
Chandler; Mary Chase; Wayne Chase; Jose
Chavez; Paulina Chavez; Kim Chewning; Ron
Chewning; Qin Zheng Chiew; Darrell Childress;
Pamela Childress; Jason R Childs; Kenneth L
Childs; April Ann Chill; Carmen P Chill; Helen
Cholewinski; Sabrina Chow; Kathy H Christopher;
Fern Chupp; Milton J Chupp; Chad Cilley; Ciqala
LLC; John Ciulla; Clark & Dearinger Property
Mgmt, LLC; Barbara S Clark; Brenton Clark;
Christopher John Clark; Francis Clark; George D
Clark; Kimberlee Clark; Kimberly Clark; Michael
C Clark; Michael C Clark; Pamela Clark; Robert
Clark; Peter Clark, Sr.; Warren G Clark; Richard
Clarke; Fred R Clayton Jr; Len A Clayton; Richard
Clement; Jason A. Clements; Geneitha Cleveland;
Samuel J Cleveland; Sandra Lee Clute; Patrick
Coates; Steve Cochi; Joshua M Cochran; Rickey
Cochran; Ronald J Cochran; Bettye Cofer;
Thurston D Cofer; Jan Coin; Cynthia Colbeth;
David Colbeth; Howard J Cole; Kenneth L Cole;
Marilyn Cole; Phyllis Cole; Markus A Coleman;
Fay W Collier; C W Collins; Martha Jane Dyer
Collins; Sherry Collins; Sherry Harding Collins;
Dennis M Collis; Dianne Collis; Alan Collum;
Melissa Collum; John Colucci; Alison Comas;
George Comas; Compery Inc; Ed Conkling;
Judson Connell; Frank Connelly; Brenda Conner;
Jonathan R Conner; Bridget Connolly; Marie D
Connors; Lori Beth Conrad; Martin R Conrad;
Michael Consalvo; Allison Cook; Arnold Cook;
Bryan K Cook; Garland Cook; H A Cook; Jayne
Cook; Mary M Cook; Maylene R Cook; Michael R
Cook; Pamela Cook; Robert Cook; Robert L Cook;
Roland W Cook; William Cook; Chris E Cooper;
Erik W Cooper; Linda Mendenhall Cooper; Linda
Mendenhall Cooper; Roslyn Cop; Thaddeus Cop;
Copelia Bar Liquors; Licet Coppley; John P
Corbacho; Jeannette Corbeil; Robert Corbeil, Jr.;
Robert Corbeil; Fred J Cornthwaite; Sue
Cornthwaite; John J Corona; Angela Correa Toro;
Alyse Correa; Angela Maria Correa; Donald R
Correa; Carlos Arturo Pinzon Cortes; Timothy J
Costello; Jean Pierre Couratier; Michele Made
Couratier; Bryan Cox; Helen R Cox; James M
Cox; Marsha Cox; Mary Cox; William L Cox;



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Larry Cragge; Pamela L Cramer; Allen Shane
Cravens; Dennis Crawford; Jerry L Crawford;
Roger Crawford; Romona Crawford; Mark D
Crawley; Blake Crocker; Stacey Crocker; Linda
Cromer; William G Cromer; Maureen Cronan; Jim
R Crow; John J Crowley; CT Dynamics, LLC;
Stephen M Cudd; Thomas L Cuen; Lawrence
Cullan; Stanley H Cumbie; Jacqueline Curley;
Stephen Curtis; Zacarias Curup; Irlene Cutshall;
Noah Cutshall; Jeffery W Cutshaw; Kim Cutshaw;
Michael D'antonio, Jr.; Christi Dalrymple; Jean M
Damato;      Selwyn      F     Damico;     Monier
Daneshforouz; Frances J Daniel; Amy M Daniels;
Keith A Daniels; Yvonne D Danson; Edward A
Danyo; Stephen J Darmofal; Jamie Dasilva;
Vincent Dasilva; Benny Davenport; Dale M
David; Mary Ann David; Phillip L Davidson;
Brenda Davis; Carol Davis; Claude I Davis; David
E Davis; Frances C Davis; Howard F Davis; Jackie
R Davis; Jakie Davis; James K Davis; Jan M
Davis; Jeffrey Davis; Charles L Davis, Jr.; Martin
Davis; Paul Davis; Robert E Davis; Sarah Davis;
Steve C Davis; Thomas E Daws; Evelyn Hadad De
Abdelnur; Teresa De Jesus C De; John I Dean;
Merle Dean; Nancy Dean; Marc J Dearth; Jamie T
Deas; Eddie D Deaton; Debt Equity Investment LP
III; Peter Decarlo; Helen Degallerie; Marcos
Lizardo Del Moral; Birdie Delain; Robert J Delain;
Brian K Delaney; Daniel J Delano; Julie M
Delano; Marie A Delatorre; Patricio Delgado;
Adam Deltoro; Adam Deltoro; Mary Demandel;
Fred P Demars; Linda Demars; Dominic
Dematteo; Lucy Dematteo; Stephen Demers;
Nicole Denequolo; Larry G Denis; Ruth Denis;
Glenn Dennison; Glenn Dennison; Kimberley
Dennison; Marjorie L Derrick; Barbara Derylak;
Alexis M Des Marais; Christopher Des Marais;
Naveen Desai; Steven Dewick; Tony Dezenzo;
Guadalupe Diaz; Tanechia Diaz; James Dickens;
Jennifer Lynn Dickerson; Michael Dickerson;
Randy Dickson; Diana F Dieska; Christopher J
Dieter; Gary J Difazio; Jillian Difazio; Howard K
Dills; Evangelos Dimas; James Dinkins; Elizabeth
Dirienzo; Michael Dirienzo; Linda Disanti;
William Jessie Dixon, Jr; Richard F. Dixon;
Stanley L Dixon; Lewis Ervin Dobson; Mike P
Dobush; Dorothy M Dodgens; Ricky G Dodgens;
Teresa Dodgens; Clarence M Dodson; Doreen



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Dollen; Robert J Dollen; Caroline Donald; E R
Donald; Francine Donoho; Rick Donoho; Doris
Dotson; Sallie L Douglas; Austin Doyle; Nancy
Doyle; Scott Doyle; Tom Doyle; David Drag;
Peggy G Drew; John Drouse; Becky Druschel;
John Duffy; Robert Dukeman; Sharon Dukeman;
Andrew S Dula; Julie Dula; Joseph G Dumas;
Chad Duncan; Greg Duncan; Keith Duncan; Leah
Duncan; Stefan Dundov; Dorie Dunhill; Dairo
Duque; Hazel Durden; Phillip H Durden; Darrell
Durham; Crystal Durkan; Shawn A Durkan;
Glenda Duvall; Marsha Duvall; Michael Duvall;
Russell Duvall; Thomas Duvall; Devon Dvorzsak;
Sheri Dwyer; Dewey Dwayne Dyals; Lawrence P
Dyer III; Maria Dyer; Sam C Dyess; Dynamics
Construction; Marsha L Earp; Don H Easley Jr;
Don H Easley; Arnold Charles Eatmon; Adelia L
Eaton; Favre E Eaton; Lois Eaton; Robert E Eaton;
Emma Echeverri; Clifford Echols; Glenda Echols;
Tracey Echols; I. Karen Eckersley; T C Eckersley;
Telisa Edenfield; Vernon E Edenfield; Armond
Edge; Perry Edge; Brenda Edwards; Eben R
Edwards; Elaine Edwards; George R Edwards;
Helen Edwards; Kenneth R Edwards; Leroy
Edwards; William T Edwards; Alice Eidell; Gary
L Eidell; Simon Elbayadi; Matthew A Eldridge;
Michelle M Eldridge; Rusty Eller; Susan Eller;
Joseph Ellers; Cheryl Elliott; Donnie Ellis; Joanna
M Ellis; Ronnie Ellis; Deborah Ellison Cook; Joe
N Elmer; Paul G Elston; Wanda L Elswick; Ruby
England; Enterprise South Inc; Eqty Trst
Jacqueline; Equity Trust FBO Hokan Ferno I;
Equity Trust Company Custodian FBO Rodney P.
Massey IRA; Equity Trust FBO1601; Manuel
Espejo; Louis Esposito; Jorge Estrada; Rosa
Estrada; Deborah Etal; Scott Etal; Denice Evans;
Jimmy Evans; Lafrenda Evans; Lemuel Evans;
Linda Evans; Richard J Evans; Cameron Evatt;
Carmen Evola; Barry M Ewing; Exigenics Inc.;
Diane W Eye; Everett Gene Eye; David W Ezell;
Retha Ezell; James V Faber; James V Faber; Ricky
Fabre; Pamela P Faggart; Catherine B Faile;
Valentina Fajardo; Alvin Falley; Dorene Falley;
Jean R Fallon; Istvan Fanczi; Lisa Fanczi; Sandra
L Farmer; Lorraine Farrell; Lorene Feagley; Rex
Feagley; Alan Feerrar; Lorelle M Feezor; Edward
Fehrenbach; Jennifer Felix; William Felix;
William Felix; Hazen Fell; Melinda Felts; Ronald



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D Felts; Rosalie F Fenex; Fenix Entrepreneur,
LLC; John David Fenley; Joyce Fenley; Miren
Margarita Feo Garate; Francisco Feo; Joseph C
Feola; Roberto Feoli; Roberto Feoli; Wesley
Ferguson; Hokan Ferno; Deborah Ferrandino; Rod
Ferrandino; Anthony Festa; Lisa Festa; Libby L
Fiala; Laura A Field; Mark W Fielding; William T
Fields; Frank Javier Figueredo; Marius Filip;
Samuel L Finklea III; Betty L Finley; Charles
Fisher; Patricia G Fisher; Jeffrey Fitzgerarald;
Deborah Fitzgerarald-Noll; Joseph Flagg; Katrina
Flagg; Gina Flanagan; Walter R Flanagan; Stephen
Flanigan; Teri Flanigan; Flatrock Holding Com;
William Fleming; Joel Fletcher; Joel R Fletcher;
Wanda Fletcher; Barbara Fleury; Clayton W
Fleury; FLH LLC; Mark Flickinger; Michael C
Flint; Ramsey Flint; Cheryl Flores; Christopher A
Flores; Ana Maria Florian Glavis; Juan Alberto
Florian; Becky Flowers; Brent Flowers; Ruth G
Flowers; Catherine Williams Floyd; Dina
Fontaine; Richard W Fontaine; Danny Fontenot;
Joyce Fontenot; Ira T Foote; David Ford; Floyd E
Ford; Stephanie Ford; Wilhelmina W Ford; Gary
A Fore; Terry Fore; Bibiana Vanessa Vargas
Forero; Jose Hernan Forero; Cheryl Forman;
Christopher J Forman; Vivian Ann A. Foster
Brown; Amos D Foster Jr; Kathy M Foster;
Xyzemia Foulkes; Alicia Foutz; Ashley R Fowler;
Jeffery R Fowler; Odalis Cynthis Fowler;
Raymond E Fowler; Patricia Fox; Foxwood
Corporation; David Fradkin; Peach F Fralick;
Frame-Master Enterpr; Benjamin W Franklin;
Philip J Franklin; Mark Franz; Johnnie Duane
Frazier; Cherry Frederick; Paul Frederick; Ann
Freedman; Lewis S Freedman; Azel Mack
Freeman Li; Jeff Freeman; George E Freije;
Patricia Freije; George E Frejie; Patricia C Frejie;
Charles Friedline; Diana L Friedline; Kayla Fritz;
Richard Frost; Shirley Frost; Tanya Fryar; William
Fryar; Mark R Frye; Edmund Fu; Janine M Fuchs;
Henry Fujita; Marshall Fullbright; David M Fuller;
Kimberly Fuller; Tony Fuller; James A Fulp;
Fulton National Bank of Atlanta; Carol V Fulton;
Leonard Fulton; Barbaro Fuster; Mirtha Fuster;
Yaimara Fuster; Future Holding Corp; Geraldine
Gable; Joseph A Gadson; Lissia Gaines; Natalie
Galan; Natasha Galan; J B Galbreath; Linda
Galbreath; Linda A Galbreath; Mario R Galindo;



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Domenica Gallagher; Jeffrey A Gallagher;
Terence Gallagher; Jeffrey Gallant; Katherine
Galleno; Raymond Galleno; Sergo Ignacio Gallo
Velez; Mandi Galloway; Ted M Galloway; Doug
Gamber; Judy Gamber; Albert Gantt Jr; Louie W
Gantt; Michael Gantt; Murna Gantt; Art Garcia;
Luis Cantero Garcia; Marco Garcia; Omaida
Garcia; Dana Gardner; Rhonda Gardner; Jodi
Garner; Richard M Garner; Anna B Garrett; James
L Gash III; Alicia Gasper; Gary Gasper; Anita
Gates; Thomas A Gates; Earline Gatewood;
Furman P Gatewood; Glenn E Gay; Terri
Gayheart; Eddie R Gayten; Mintie Geneva;
Cynthia J Genthert; Anthony Gentile; Jennifer
Gentile; Duane Charles Gentle; Duane L Gentle;
Lettie Jane Gentle; Lamar T Gentry; Bruce L
George; Jean B Georges; Liliane Georges; Charles
Georgie; Elie W Germanos; Edwin Gerrits; Dean
Gesualdo; Gilbert Ghinis; Patricia Giammarino;
Thomas Giammarino; Derek Gibson; Glenn
Gifford; Inanna Ortega Gil; Ronald Gilbert; Ryan
Gilbert; Juanita Giles; William T Giles; Peggy
Gillespie; Dewey Gilley; Clinton Gilreath; Ruby
Gilreath; Laura Gilroy; Sandra C Ginn; Alice Hess
Ginter Kellaher; Mary Girdner; Bradley J Girten;
Beverly Gist; Bobby D Gist; Fredie R Gives Jr;
Doris Gives; Tillman W Gives; Karine Glass;
Leslie J Glass; Antoinette Gleeson; John W
Gleeson; Gregg Glymph; Vivian Glymph; Joyce S
Godfrey; Steven M Godfrey; William R Goff;
Patricia Gogarty; Thomas J Gogarty; Linda P
Goins; Marybeth Golden; Phillip Golden; Oleg
Gomelsky; Oleg Gomelsky; Juan Alberto Florian
Gomez; Karen Gomez; Marta Gonzales-Serranto;
Enrique Gonzalez; Lidice B Gonzalez; Luis C
Gonzalez; Joe Goode; Kimberly Goodin; Jermiah
Goodlake; Fred C Goodlett; Scott Goodlow;
Gainsburg Goodman; Teresa M Goodman; Goods
& Investments; Maggie Gordon; Ada Goren;
Jennifer Gorman; John P Gorman; Martha L
Gosnell; Martha L Gosnell; George T Gossett;
Maybelle Gossett; Michael Goulding; Steven L
Goyetche; Eric Grabenstein; Grace Tabernacle
Baptist; Michael A Grady; Anne Graham; Herbert
Graham; Raczynski D Graham; Cynthia
Gramkow; Xaver Gramkow; Sergio R Granado;
Mike Granfield; Patti Granfield; Arthur Grant;
Henry G Grant; Sandra Grant; Gray Properties;



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Hans D Gray; Jeanette Gray; Leonard W Gray;
Melissa Gray; Richard Gray; Gerald L Grayson;
Nadine Grayson; Janet Greear; Vern L Greear;
Green House Group, LLC; James W Green III;
Wilton A Green Jr; B R Green; Deborah Green;
Donna Green; Edward Green; Joyce M Green;
Marie Green; Steve Green; Steve W Green; Carol
Greer; Charles Greffrath; Joan Greffrath; James E
Gregg Jr; Ronald Gregory; Hari Grewal; Gene
Grice; Theophilus Griffin Jr; Kawwannah Griffin;
Linda C Griffin; Vicki L Griffin; Cynthia Griffith;
Dala Griffith; David Griffith; David Griffith;
Donna Griffith; Elizabeth Griffith; Howard
Griffith; Ellen Grim; Scott A Grizzard; Evelyn M
Gross; Claudia Guerrero; Oger L Guess; Jenifer
Gunder; Jesse K Gunder; Sachinder N Gupta;
Perez Gustavo; James Guthrie; Michele Gutierrez;
Santos Gutierrez; Edward J Guy; Wilfred Guy;
Johnathon C Guyton; Roman Guzman; Carolyn
Haarer; Paul R Haarer; Hamid Habibi; Tyler
Hackney; Ronald Hadley; Lawrence S Haff;
Donald L Hagood Sr; Richard Hainisch; Virginia
L Halbman; James J Hall; JP Hall; Kyong Hall;
Lashondra S. Hall; Mark Hall; Richard Hall;
Sandra Hall; Marietta Hall-Nelson; Janie Lynn
Halstead; Pamela Halverson; Deborah L Hamilton;
Larry Hamilton; Michelle Hamilton; Robert
Hamilton; Andrew Hamlin; Tabatha Hamlin; J D
Hammond; Ronald J Hammond; Daniel W
Hampton; Kathryn P Hampton; Shelly Hanes;
Phillip Haney; Susan Haney; Donna Hanks;
William D Hanks; Lawrence E Hann; Paul Hanna;
Sandra Hanna; Rebecca Hannah; Shawn Hannah;
Denise Hansen; Kai Hansen; Patricia Hansen;
Ronald P Hansen; Charlotte Hanson; James F
Hanson; Joseph S Haraka; Cherline Harbert;
Albert D Harbin; Bernice C Harbin; Gloria
Harbison; Raymond Hardee; Patricia Hardin;
Michael P Harding; Edith Hardman; William H
Hare; Willie R Hare; James L Harkness; Margaret
Harkness; Ayania C Harmon; Harmonia Holding
LLC; Harold Harper; Brooks Lee Harrell; David
Austin Harrell; Carolyn A Harris; Cheryl G Harris;
Henry Harris; Jeffrey M Harrison; Theodore R
Harrison; Lynne Hart; Michelle Hart; Rearden
Metal Hart; Sharon Hart; William O Hart; Larry
Hartley; Thomas Hartung; Robert L Hasibar Jr;
Ricky L Haskett; John Hastilow; Karolina Hatch;



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Warren Hatch; Anthony Haufler; Nick Havas;
Jessica C Havens; Janet Hunter Hawkins; Jason
Hawkins; John R Hawkins; Lonnie J Hawkins;
Stanley D Haworth; Adam Hayes; Angelique
Hayes; Janice Hayes; Steven Hayes; Jennifer N
Hayter; Adam C Head; John D Heath; Bobby
Hefner; Katherine Hefner; Margot Heg; Tom
Heller; Tom Heller; Larry Hembree; Yvonne L
Hemmings; Greg Henderson; Joseph Henderson;
Robert D Henderson; Shari Henderson; Robert K
Hendrick; Evelyn E Hendricks; Wanda F
Hendricks; Todd Heninger; Thomas Hennessey
III; Jacalyn Hennessey; Barbara Hennig; Raymond
H Hennig; Mack Henry II; Gary Henry Jr; Gary
Henry, Jr; Kelli Henry; Charles R Hensley;
Brandon Henson; Faye Henson; Wayne Henson;
Carlos Hernandez; Jorge Hernandez; Thomas R
Herndon; Herminia Herrera; Hershoff Lupino &
Yagel LLP; Robert E Hessler; Eduardo Hevia;
Elina Hevia; James S Hibbert; Charles R Hickok;
Doris Hickok; Shelley Hicks; Stephen Hicks;
David C Higel; Deborah Higgins; Kenneth
Higgins; Rosemary Higgins; Seth Higgins; High
Vantage Land, LLC; Donna R High; David W
Hilbig; Kimberly Hilbig; Anthony T Hill; Henry
W Hill; James Hill; James R Hill; Joseph Hill, Jr.;
Julia Hill; Sandra Hill; Wendy Hill; William L
Hill; Jacquelyn O Hillman; Gerald L Hinderman;
Elizabeth Hineman; Rodd A Hineman; Richard
Hines; C.D. Hinson; Linda Hinson; Edith Hix;
Steven R Hlava; Beverly Hobbs; Joseph Hobbs;
James Hockenberry; Marcia Hockenberry; Ellen
Hoffman; Steven O Hoffman; Tina Hoffman;
Michael Hogan Jr; Lisa Hogan; Cheryl A
Hoksbergen; Lisa Holbrooks; Ned G Holbrooks;
Sheree Holbrooks; Stephen Holbrooks; Donna
Holcomb; Deborah Holden; Richard G Holden;
Sedrick Holden; Jimmy Holder; Glenn W Holland;
Opel Holland; Rosemary Holland; Marvin
Holliday; James L Holloway Jr; Holly Family
LLC; Dana Holmes; Dana Holmes; Eddie L
Holmes; Gerald E Holmes; Marvin Holmes;
Patricia Holmes; Scott W Holmes; Joseph
Hoopaugh, III; Kimberly Hoopaugh; Brenda Jo
Hooper; Jennifer Hoover; Kielyn Hoover; James
Hopkins; John Hopkins; James Horne; Teresa
Hornsby; Seth A. Horrell; Tristie Horrell; Jimmy
A Horton; Charles Ritter Hoskins; Jorge Harold



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Hostoz; Edward Van Houghton; Lynn Houghton;
Darrell Houston; Willie E Houston; David
Howansky; Carol Howard; Charles C Howard;
Charlie J Howard; Charlie J Howard; Evelyn
Howard; Mark Howard; Sheri E. Howard; Terry E
Howard; Terry E. Howard; Valeria Howard; Howe
Family Limited Partnsp; Margaret Howell; Robin
W Howell; Elaine Howland; Alice Howle; Brenda
Howle; Gleen B Howle; Charles Howlett; Karen J
Howlett; Devan Hoxit; Jack Hubbart; Tonuya
Hubbart; Alma J Huber; Ammer Gean Huber;
Nancy Hucker; Timothy A Hucker; Michael L
Hudson Sr; Dwight R Hudson; Joe Hudson;
Kristine L Huffman; Jerry Hughes; Karen Hughes;
Irene T C Hulbert; Don Humes; Rita Humes;
Kimberly Humphries; Kimberly Humphries;
Steven Hundsdorfer; Courtney Hunnicutt;
Jonathan Hunt; Doretha O Hunter; Gerald T
Hunter; Vivian F Hunter; Joan Hurley; Leslie
Hurley; Fahmida Hussain; Alan Hutchins; David
Hutchins; Eurice R Hutchins; John Hutchins; John
N Hutchins; Laura Etta Hutchins; Samual
Hutchins;      Alicia    Hutchinson;     Deborah
Hutchinson; Ricky Hutchinson; Daniel Huth;
Shellie Huth; Kevin Hutto; Tara Hutto; Buddy
Hylton; Greg W Hyman; Marilyn M Hypes;
Joseph Iaquinto; Cora B Ice; Nathaniel Isner;
David H Ivey; Anthony Izzo; Guiseppe Izzo; Marc
A Jacalone; Teresa Jacalone; Christy Jacks; Daniel
Jacks; Albert L Jackson; Bobby D Jackson; Brenda
Jackson; Charline Jackson; Lisa Jackson; Marshall
Jackson; Neal E Jackson; Wilbur Artte Jackson;
Alex Jacob; Andrew Jacobs; Doris Jacobs; Marc D
Jacobs; Richard M Jacobs; Shannon Jacobs; Willie
E Jacobs; Donald C Jaeger; June Jagnandan;
Jainina Investments LLC; Garfield Jairrels; James
& Frances Vacation Rentals, LLC; Catherine
James; Douglas James; Gustavo Jaramillo; Juliana
Jaramillo; Donald D Jarvis; Jasmour Enterprises;
Gerardo Jasso; Keith Javenes; Jeco Homes LLC;
Bartow Jeffcoat; Andrea Jenkins; Loretta Jenkins;
Marcus T Jenkins; Susan Jepson; David Johns;
Louise Johns; Joseph E Johnson Jr; Oscar Johnson
Jr; Billy Johnson; Cary T Johnson; David G
Johnson; David L Johnson; George Johnson;
Isaiah Johnson; Willie Johnson, Jr; Junior N
Johnson; Katherine Johnson; Kim Johnson; Kim
Johnson; Tara Desalvo Johnson; Joseph Joiner, Jr;



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Pamela Joiner; Anna M Jones; Danny Jones;
Federico A Jones; Frank E Jones; George B Jones;
Mary P Jones; Maudlyn G Jones; Miranda Jones;
Phyllis A. Jones; Renee Jones; Robert L Jones;
Roland Jones; Sandra Jones; Sean Jones; Candice
Jordan; Carolyn V Jordan; Jack H Jordan; Robin
Jordan; Joy For Our Youth Inc; Joy of Our Youth
Inc; Elsie A Jung; Carl E Justice Jr; Cathy Justice;
Kai Enterprises Group Corp; Nikolay Kamenov;
Darrel Kaml; Charlene P Karnes; Nancy Kastin;
Herjeet Kaur; Archibald B Kay; Lisa G Kay;
Rosalind Kay; Jennifer Kealler; Phillip Kearse;
Johnny Keckler; Scott Keefer; Steven S Keefer;
Coleen Keeley; Patti Keeley; Thomas Keeley;
Alvin Keener; Grant A Keener; Harold Keever;
Reginald H Keever; Dorene Kelleher; Byrch G
Kelley; Jacqueline Kelley; James Kelley; Kenneth
D Kelley; Mary F Kelley; Bernardine Kellock;
Aaron Kelly Jr; Everetta Kelly; Sherry Kelly;
Carol Kemp; Kay E Kemp; Charles Kempf; Craig
L Kempf; Sally Kempf; Alice Kemps; Wayne
Kempton; Bobbi Kennedy; Bonnie Kennedy;
Robert C Kennedy; Amie R Kerley; William R
Kerner; Johnny L Ketchum; Jeremie Keyworth;
Linda Keyworth; Iftikhar A Khan; Tabassum
Khan; Salim E Khoury; Artur Khurshudyan;
Khushi Investments Group; Marilyn K Kiel; Joyce
Kiker; Rose M Kilgore; Mark P Kilinski; Jimmy R
Kilpatrick; James P Kimball; Dallas King;
Deborah H. King; Gary R King; Janet King; Linda
King; Marty A King; Phyllis King; Robert L King;
Wilton E King; Matt Kingery; Nicholas A
Kingery; Terrell W Kingery; Robin E Kingeter;
John F Kings Jr; James W Kinney; James E
Kinsey; Janet Kirby; John R Kirk; John R Kirk;
Nadine Kirk; Gerald B Kirschner; Laura
Kirschner; Paul D Klein; Brent Knerr; Karen
Knerr; Wenona E Knight; Robert E Koch; Paul M
Kochery; Leigh Ann Koeth-Cunha;               Frank
Korzenko; Thomas Kottke, Jr.; Ronald D Krein;
Stephen C Kresal; Joseph Krieg; Pamela Kruer;
Pamela Kruer; Thomas J Kruer; Thomas J Kruer;
John D Kuder; Rachel D Kuehner; Richard
Kuehner; Margarita Kullick; Robert Gene Kunkel;
Beverly Kunzweiler; Edward F Kunzweiler;
Gisela V Labrana; Stephen Lacatena; Dave Ladet;
Shirley Laframboise; Lynn Lafranchi; Delio P
Lago; Gary A Laird; Kathy Laird; Norma Jean



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Lamb Jr; Todd S Lamb; William Lambertson; Sara
C Lambeth; John V Lamovec; Rena G Lance;
Roger Lance; Land Bank International Inc; Land
Bank Interprises; Jay M Lane; Debra Lange;
Allison A Lanning; Kenneth H Lanning; Patsy
Lanning; Crandall Lanphear; Raul Lanz; Elisa
Large; Thomas A Large; James Larkin; Margaret
Larkin; Jennifer Lasky; Steven Lasky; Wolfgang
Latino; Oscar R Latt; Charles Laubenstein; Tondra
Laubenstein; Janet Laughter; Janet Laughter;
Robert Laughter; Robert Laughter; William T
Laundon; Becky Lavigne; Gerry H Law; Patricia
Law; Eddie Lawson; Janie Lawson; Tammy
Lawson; Donald F Lay; Tiffany Le; Cheryl
Lechnar; Mildred Ledbetter; Robert F Ledbetter;
Norman Ledford Jr; Vergie Ledford; Vickie Y
Ledlow; Brenda C Lee; Heather Lee; James Lee;
Joseph Lee; Joseph Lee; Lucy Lee; Mike Lee; Sue
Lee; T Lee; Vincent Lee; Herman Leembruggen;
Daniel J Lejeune; Phyllis Lemay; Skip C Lemke;
Donna Lemon; Donna Lemon; Juliet Lentejas;
Joni Lentine; Elena Leo; Mario Leo; Richard C
Leroux; Carroll Levison; Howard Lewington;
Charles Lewis; Dorothy Lewis; Herbert M Lewis;
Leroy Lewis; Lillie Lewis; William Lewis;
William R Lewis; Silviano Licea; Michael Lidster;
Sara Liester; Dana Light; Geoffrey A Light; Betty
R Lightfoot; Sandra Liles; Karen Ali Litcofsky;
Keith A Litcofsky; Robert W Locke; Susan Locke;
Glen Lockhart Esta; Timothy Loftis; Deanna M
Lohman; Gregory S Lohman; Lonergan Notes,
LLC; Randolph E Longshore; Vernon Lucas
Longshore; Clara Looney; Ralph Looney; Alfred
Lopez; Jorge Lopez; Paula Lorenzo; Pedro
Lorenzo; Regina Losche; Richard W Losche;
Lindy Loudermilk; Ernst Louis; Carole Lovesey;
John J Lowe; Valerie Lowe; Karl L Lowrey;
Kathleen Lowrey; Lornell Lowrey; Antonio
Lozada; LTJ Enterprises LLC; LTJ, LLC;
Christopher Ludy; Jewel Lykins; Willie E Lyles;
Benjamin L Lynch; Teresa Lynch; Linda L Lytle;
Hugh H Macaulay IV; Kim Macaulay; Robert M
Macias; Vernon Mack; Sonya Mackey; Lone Sky
Macloud; Barbara MacNevin; Steven MacNevin;
Jacques B Macy; Linda Macy; Ann Harben
Mahaffey; Barbara A Mahaffey; Michael
Mahaffey; Marleen Mahon; Robert D Mahon; Dr.
Joerg Maier; Stephanie Maier; Nancy Major;



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Sergei Maklogin; Brian E Malin; Joseph J Mallini;
Janet Malone; Andrea L Maner; Daniel F
Manhardt III; Emmett Mankin; Ernest William
Manko; John C Manley; Mona Manley; Mary B
Mansfield; Ryan Marcengill; Misty Marchbanks;
Clemencia Marino; Duane Markley DBA Cigala
LLC; Catherine L Marlor; Linda L Marsh; Vincent
R Marshall; Chris Mart; Gary Mart; Charles
Martin; Charles Martin; Christine Martin;
Christopher Martin; Christopher Martin; Cystal
Martin; Glenda Martin; James Martin; James
Martin; Marcia Martin; Patrick W Martin; Richard
O Martin; Sharon Martin; Wrilon Martin; Walter
Martindill; Maria Martinez; Christopher Massey-
Norton; Debra Massey- Norton; Brenda Masters;
Jed W Masters; Doreen L Mastley; Scott M
Mastley; Susan Matheson; Timothy Matheson;
Debra Mathews; Marilyn Mattei; Patrick Mattei;
Dale E Matthews; Heather H Matthews; Jill A
Matthews; Norma Matthews; Dana E Mattox;
Gabriela A Matusova; Krista S Mayberry;
Clarence Mayes; MBCM LLC; Hannah
McAdams; Gladys A McBee; Michael A McBee;
Timothy McBee; Maureen Keeley McBreen;
Terence McBreen; Darren McCabe; Sumie
McCabe; Sheila McCall Faircloth; Joseph C
McCall; Larry McCall; Linda McCall; Mary
McCall; Ellen Y McCarson; Timothy K
McCarson; Betty McCarter; James F McCarter;
Sheryl W McCarthy; Bruce McClure; Jay
McClure; Julie A G McClure; Ron McCollum;
Valerie McCollum; Robert D McCoy; Jonathan
McCracken; Loretta McCracken; Karl E McCranie
Jr; Jana McCranie; Joseph McCrary Sr; Teresa
McCrary; Troy M McCrary; Connie McCraw;
Christine M McCullock; Scott M McCullock;
Donna McCullough; Donna McCullough; Terri
McCurdy; Terri McCurdy; David B McCurley;
Jeannette McDaniel; Martha L McDaris; Richard
McDaris; Brenda McDonald; John L McDonald,
Jimmy D McGarity; Arlie McGarvey; Mark
McGee; Donald L McGinty; John McGonagle;
Tamara McGonagle; Laura McGraw; Manning V
McGraw; Shirley A McGrier; Cory B McGuffin;
John David McGuire; Roy L McIntyre; Leann C
McKee; Louis McKee; Gay Denise McKenzie;
Timothy L McKenzie; Bruce McLaughlin;
Jonathan M McLaughlin; Lisa McMahon; Hugh C



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McMillan III; Robyn McMullen; Doris McMurry;
Jerry W McNair; Patricia McNair; T A McNealy;
Riannon McNeil; William McNeil; Jerry
McPhearson; Emory McQueen; David L
McWhirter; Don R Meador; Daniel Means;
Kimberly Meckley; Juan Ignacio; Medina Estrada;
Juan Medina; Yleana Medina; Nadine Meece;
Robert W Meece; Frederic Meeks; Amber
Meighen; John Meighen; Jeff Meiselman; Rocky
Melnick; Charles W Melton; Tessa Melvin; Gary
Menard; Wesley Menard; Menarei LLC; Bobbie
Menchyk; Stanley Menchyk; Mary Mendoza;
Robert Menning; Gordon E Mercer; Richard K
Merck; James Merideth Webb; Janet Merideth
Webb; Claudio S Merola; Theresa Merrins; Sarah
A Merriweather; Shante Merriweather; Meruvian
Investments LLC; Joseph Messner; Patricia
Messner; Frank Mestnik; Joan Mestnik; Aiden
Metcalf; Valerie Metzker; Richard P Meyer;
MGD-SC REO, LLC; Becky Middleton; Jonathan
Middleton; Robert Middleton; Sherri Middleton;
Norma J Milam; Junius I Miles; Mark S Miles;
Monica Miles; Kristie Milford; Kristie Milford;
Millenia Investment Group LP; Carolyn L Miller;
Debra Miller; Jeffrey Miller; Joan Miller; Leslie W
Miller; Martin Miller; Peggy Miller; Rhonda
Miller; Terry L Miller; Thomas L Miller; Travis
Miller; Valerie Miller; Robert Millican; Louisa C
Milligan; Patrick Milligan; Sean C Milligan; Barry
Mills; Harry J Mills; Larry Mills; Alphonzo
Millsapp; Marvin Minney; Sammie Minney;
Joseph Minogue; Patricia Miro; Robert Miro;
Chander Mishra; Iva D Mishra; Sharon Mitchell
Trustee; John L Mitchell; Larry B Mitchell;
Meldon A Mitchell; Sharon Mitchell; Garrett J
Mobley; Burnham Moffat; Edward H Mohme;
Nancy Mohme; Craig Monnin; Amanda Montejo;
Sam Moody; Betty Moore; Bruce Moore; Bruce
Moore; Carol Moore; Chris Moore; Cynthia G
Moore; Dana Moore; David Moore; James Leroy
Moore; Janis Moore; Julie Moore; Kimberly W
Moore; Mary Davis Moore; Patrick Moore; Robin
B Moore; Rodney B Moore; Sandra Moore; Scott
Moore; Steven Moore; William Moore; Arturo
Moreno; Carlos S Moreno; Nilda B Moreno; Pedro
Cesar Moreno; Dean Morgan Trust; Carrol M
Morgan; Debbie Morgan; Kelly Morgan; Larry
Morgan; Susan G Morgan; Brian J Moroney;



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Molly Morphew; John Morra; Lucy Morra;
Beverly Morris; David T Morris; John H Morrison;
Margaret Morrow; Grady O Morton Jr; Ralph
Morton Jr; Peggy Moser; Randall Moser; Robert
Moser; Fredna Gail Motte; Larry G Motte;
Lawrence A Motz; Mountain Bay Investments
Corp.; Osiris Moya; Brenda Muhammad; Tony
Mulkey; Carolyn Mullinax; Wyatt A Mullinax;
Heather Mullman; William W Murdock; Alvin
Murphy; Amber Murphy; Christopher S Murphy;
Debra J Murphy; Judy Murphy; Mark A Murphy;
Ruby Murphy; Carol L Murray; Jessie L Murray;
Lawton E Murray; Richard A Murray; Robert
Murray; Virginia Murray; Igor Murynyuk; Julie
Musitano; Donald E Musser; Sharon Musser;
Christina Nancarrow; James Nancarrow; Lucille S
Nanda; Vir A Nanda; Richard G Nava, Sr Estate;
Craig Neal; Rhonda Neal; Tom Neighbors;
Clifford Nelson; Kimberly Ann Nelson; Marietta
Hall Nelson; Walter Nelson; Lula M Nesbitt;
Patricia Neville; W Eugene Neville; Christina J
Newman; Desiree Newman; Kelly Newman;
Ronald B Newman; Veronica S W Newman;
Mickey Ray Newsome; Tom Newsome;
Chrisandrea Nguyen; Joseph V Nichol; Willie O
Nichols Jr; Dilsey Nichols; Darlene J Nicosia;
Kenneth Nida; Deborah Niedermeyer; Ralph
Niedermeyer; Ozden Peggy Niemeyer-Pollard;
Jerilyn Nighttraveller; Clara Nin; Walter J Nisbet
Jr; Naoya Nishimura; Dennis G Nix; Emily Nix;
Jane H Nix; Russell Nix; Douglas J Nixon; Barbara
Noaeill; Michelle R Noaeill-Peraza; Daniel R
Noble; Neva Nolen; Heidi Nolley; Richard D
Nolley; Barry D Norris; J C Norris; Raymond D
Norris; Socorro Norris; Berniece G Norton; Mark
Norton; Jodi Nudelman; Kathleen Nummy;
Timothy A Nummy; Ana Nunez; Celia E Nuno;
Julie Nurse; Leslie Nurse; Robert M O'Connor;
Amber O'Dell; John J O'Keefe; Karen O'Keefe;
Robert O'Neal; Pauline O'Sheilds; Luis Ochoa;
Oconee County FLC; Oconee Vacant Lots, LLC;
Regina T Odell; John Odendahl; Lisa Odendahl;
Sidney Odom; Carolyn Ogle; Ronnie R Ogle;
Stanford Oki; Mark Olinger; Pat Olmstead; Ronald
Olmstead; Renee Olson; Renee Olson; Omid
Group LLC; Mike B Onafuwa; Adele Ondrasek;
Peter J Ondrasek; Isolde Opphile; Larry Opphile;
Belen Ortiz; Karen Ortiz; Betty Osbey; James



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Osbey; Raymond Osborne; Santiago Osorio;
Thomas E Oswald; Michelle R Oteiza; Jessica
Ouellette; Chadwin Overholt; James W Owen;
Jolene Owen; Robert S Owen; Rosetta Owen;
Timothy Owen; Bert Owens; Claudette Owens;
Michael D Owens; Sheila Pam Owens; Wiley L
Owens; Jennifer V Pace; Elizabeth G Pack; Pamela
C Padgett; Jose Juaquin Paez; Randy B Page;
Sandra Paine; Thomas Pair; Robert J Palermo;
Connie Palmer; Eugene S Palmer; Gerald S
Palmer; Linda A Palmer; Marcia J Palmer; Marion
Palmer; Palmetto Investments; Palmetto Property
Buyers; Tamara Parham; W G Parham; Chris
Parisani; Allan R Parisi; Victoria Lee Parker
Estate; Cheryl Parker; Cynthia Parker; Dallas G
Parker; Edward Parker; Helen R Parker; Hope
Parker; Jacqueline Parker; James Parker; Michael
G Parker; Brian Parkhurst; Thomas L Parks; Harry
Parnell; Allan Parrish; Linda Parrish; Donald C
Parsell; Jennifer Parsell; William L Pate Jr;
Carolyn Pate; Kapila M Patel; Krishna Patel;
Priyank Chetankumar Patel; Shital R Patel;
Patriarch LLC; Alan Patrick; Cynthia Patrick;
Cynthia J Patterson; Elizabeth Patterson; Jeff
Patterson; Jody Patterson; Joseph V Patterson;
Jacob C Paul; Peachford Investors LLC; Jeffery T
Peay; Jeffery T Peay; William T Peeler; Melissa
Pence; Cheryl Pendl; Pensco Trust Co; Lisa M
Peoples; Gustavo Perez; Jacob Perez; Liliana G
Perez; Mauricio Perez; Jhosymar Perilla Naranjo;
Nicolas Perilla Naranjo; Terri W Perkins; Allen
Perry; Anthony Perry; Marcia D Perry; Patricia S
Perry; Catherine Peters; Craig Peters; Leland D
Peters; Adam Peterson; Lorraine A Peterson;
Sylvia Petit; Timothy M Petit; Miguelino M Petiti;
Arthur C Phillips; Greg Phillips; Kimberly A
Phillips; Marcela B Piedrahita; Chris Pierce; Sue
Pierce; Jean Pieterse; Winfred Pieterse; Francine
Pilgreen; Todd Pilgreen; Tommy Pinckard; Bryna
Pitt; Jim Ed Pitt; Tammy Theresa Pitt; Dale E.
Pittman; Matthew T Pitts; Marcel Plathe; Scott
Playford; James D Plutowski; Maria Poehler;
Gregory Pointer; Martha Pointer; James K Polk Jr;
John D. Pond Sr; Connie Pond; Richard C Pond;
Charles E Poole; Larry S Poole; Martha Poole;
Tammy O Poole; Jody Pope; Whitney Pope;
Andrew Popivchak; Sandra Popivchak; James N
Porter; Maxine Porter; Melinda Porter; Thomas M



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Porter; Ruby Jean Postell Baker; Vicki Poston;
Paul Patrick Potter; Robert Timmothy Potter; Shari
Ann Potter; Donna Potts; James N Poulos;
Adrianus J Pouw; Terri Powell; Julie Poynter; Erna
Prawdzik; Preferred Tax Solutions, LLC; Richard
Presnell; Dawn Pressley; Jeffrey Pressley; Madge
Pressley; Ron M Pressley; Otis Prettyman; James
Price; Sue Ellen Price; Tina Price; Diane Prince;
Gary L Prince; Liston H Prince; John C Proffitt Jr;
Daniel K Pruett; Sharon J Pruett; Cheryl Pryor;
Jayvant Pujara; Omar L Pupo; James Pyatt; Sofiva
Pylova; Thomas G Quarles Sr; Evelyn Stack
Quarles; Barbara Queen; Kay Quesnel; Leo J
Quesnel; Quickflip Properties; Gillittia A Quinn;
Sunnie A Quinn; William J Rabasco; Agustin
Rabat; Harry T Rabon; Carol Rabon, Jr.; Cornelia
Rademaker; Robert M Rademan; Daniel Rager;
Chad Ragle; James Rainwater; Mary Raley;
Deborah Ramey; Dusty Ramey; Terry F Ramey;
David Ramirez; Diane Ramirez; Enrique Ramos;
Kimberly Ramsey; Timothy A Ramsey; Kris
Ratay; Raymond A Ratay; Ravelo Group S.
Carolina LLC; Mitch Raynor; Rearden Metal
Trust; Otis Rector Jr; Patricia Ann Rector; James
Donald Redd III; Pamela Redding; David
Redmon; Robert W Redner; Steven Reed; Karen
Reed-Grizzard; Clay W Reese; Earlene Reese;
Genis Reese; Howard K Reese; Angela Rehmus;
Dennis W Reid; Wallace D Reid; Catherine
Reifert; Michael Reifert; Adrienne L Reilly;
Edward Rembert; Kellye Rembert; Edward
Rembert, Sr.; Keith W Restle; Rita Paulina Restle;
Claudia Restrepo; Claudia Esperanza Restrepo;
Felipe M Restrepo; Edgar F Reveron; Jason Revis;
Cjarmaine Revitsky; Carlos Reyes; Suramy Reyes;
Candice Rhinehart; Mark Rhinehart; Ronald W
Rhinehart; Ernest E Rhoden; Lori Rholetter; Troy
W Rholetter; Linda M Rhyne; Cindy A Ribkee;
Harold L Rice; Jean Rice; Amanda Rich; Phyllis
Rich; Stanley L Rich; Benny Richardson;
Chadwick E Richardson; Chadwick E Richardson;
De Witte J Richardson; Frances Richardson; James
Edward Richardson; Randall Richardson; Richard
J Richardson; Trevis G Richardson; Betty Richey;
Deborah Richie; Timothy Richie; Jackson D
Rickman; Miguel Rico Espinoza; Carl R Riddick;
Rider And Rider Asso; Paul S Ridgeway; Ralph L
Ridgeway; Sara Ridout; Thomas Ridout; David



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Riley; David L Riley; Lisa Riley; Peggy Riley;
Carlos Rincon; Stephanie N Rion; Zuleika Rios
Hernandes; Kimberly Ritter; Roger Ritter; Dolly
Rivaera; Wilfredo Rivas; Joseph Rivellino; Carlos
Rivera; Donna Rivera; Robert Rix; Sherry Rix;
Angela Rizzi; Barbara Roach; Maria Roane; Mark
Roane; Gary R Robbins; Don R Roberson; Terry
Roberson; Robert N. Leboeuf Enterprises; Robert
W. Dilworth, Jr. & Betty S. Dilworth Revocable
Trust; Susan Robert; Eaon J Roberts; G Roberts;
John D Roberts; William T Roberts; Vera
Robertson; Edwin Robins; Darrell T Robinson;
George W Robinson; Jimmy L Robinson; Joyce
Robinson; Larry D Robinson; Michael Robinson;
Peggy Robinson; Samuel Robinson; Suzanne
Robinson; Lina C Robles; Roberto Robles; Macy
Rochester; Yvette M Rochester; Derly Rodrigues;
Albert Rodriguez; David Rodriguez; Fander
Rodriguez; Tomas Rodriguez; Joaquin Rodriquez;
Bruce Roe Estate; J M Rogers Jr; Carl J Rogers;
Christopher Rogers; Claude Rogers; Constance
Rose Rogers; Darren Rogers; John P Rogers; Judy
Garrison Rogers; Marie Rogers; Tunis Rogers;
Valerie Rogers; William Rogers; Claudia Patricia
Gomez Rojas; Gloria Rojas; Reinaldo Rojas;
Wayne M Rollins; Gary Rollison; Myrna K Roof;
Debra Root; Richard A Root; Earl G Roper;
Katherine Roper; Francis Rosa; Salvador Rosa;
Wanda I Rosa; Deborak Roseburg; Charles Ross;
Craig H Ross; Jessica Ross; Sharron Ross; Michele
Rotunno Di Clemente; Lisa Rowe; Robert Rowe;
Donna Elaine T. Royer; Juliana Rubio; Cathy
Ruegsegger; Keith Ruegsegger; Caroline Ann
Ruger; Kevin R Ruger; Harold Ruiz Florez; Jaime
L Ruiz Velez; Thomas Rundblad; Don Rupert;
Joseph Rupp; Robert A Russo Jr; Deborah Rust;
Lowell S Rust; Andrew Rutha; Bradley Rutledge;
Kelley Rutledge; Adelle Ryan; James Ryan;
William L Ryans; Yaneth Saade Gamboa; Claudia
Saade; Mehrdad Saati; Peter Sabbatini; Sadie
Investments LC; Safety & Supply LLC; Faye S
Sailors; Danise Sainvil; Pilar M Saldarriaga; David
J Saliga; Joyce Saliga; Richard Salisbury; Jesus
Salom; G D Salum Jr; Patricia Salum; Rose M
Samples; Anissa Sampson; James M Sampson;
Luis Gerardo Cantero Sanchez; Martha Patricia
Sanchez; Barry J Sanders; Glenda L Sanders;
Carolyn P Sandlin; Gary E Sandlin; Florian



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Santana Jr; Alexander Santangelo; Francis
Santangelo;      Francis    Santangelo;      Kaitlyn
Santangelo; Kaitlyn Santangelo; Nicholas
Santangelo; Olivia Santangelo; Olivia Santangelo;
Hugo Santiago; Juan R Santos; Samuel Santos;
Angelo Sarni; Filomena Sarni; Jason Sartain;
Kristie Sartain; Janet Saunders; John C Saunders;
Theresa Saunders; William Saunders; Bahram
Savadkoohi; Denise Savidge; Donald L Sawyer;
Debora L Scheib; Kim Scheuer; Angela R
Schlossmacher; Michelle Schmid; Richard
Schmook; Annette Schneider; Daniel Schneider;
Elliot Schneider; Julie Schneider; W T Schubert;
Joseph Scocco; Susanna Scocco; Darnley Scoon,
Jr.; Diedra Scott; Marion Scott; Robert W Scott;
Sue Scott; Wayne H Scott; Yvonne E Scott;
Micheal Scuteri; Deborah C Seagraves; Todd
Seagraves; James Searcy; Samuel J Sease; Noel
Secundino; Marty Sediglazadeh; Adam Sefer;
Adam Sefer; Angela P Seigler; Jasleen Sekhon;
Yashvn Sekhon; Charles Sekula II; Patti Sekula;
Jacqueline K Selden; Johnny E Sellers; Jonathan B
Sellers; Cosimo Semeraro; Maria Semeraro;
Anthony M Seminara; Stacey Seminara; Tony
Seminara; Roger D Sewell; Jhagru Sewgopaul;
Ralph Sexton Jr; Muzette Sexton; Selma R Sexton;
Michael D Shaffer; Said Sharifzadeh; Larry
Sharpe; Shasilnek Enterprises; Patrick Shea;
Robert Shell; Patrick Shelow, Jr.; Gregory
Sheperd; Mary Lynn Shepherd; Crystal Sheppard
Rhodes; Donald Sheppard; Kelly Sheppard;
Thomas Sheppard; Christine Sheridan; Johnny
Sheridan; Robert J Sherman; Bret Shiffler; Karen
Shimizu; Kimberly Shingleton; Robert Shingleton;
Charles W Shipman; David Wesley Shires; Larry
N Shirley; Lee M Shiry; Abbie Shiver; Kenneth W
Shiver; Lisa Shockey; Michael S Shockey; Betty
Shofner; Betty Shofner; Regina Shoop; Steven R
Shoop; F W Shuler Jr; Augusta Shultz; Brenda
Sickles; Ellsworth M Sickles; Evangelia Sidoti;
Patrick Sidoti; Patrick Sidoti; Alexandria
Sigmund-Witchey; Silver Path, LLC; Thomas
Silver; Alexandria Simmons; Eugene Simmons;
Maureen Simmons; Betty Sims; Charles A Sims;
Harold L Sims; Mary Sims; Robert Sims; Julius B
Sinclair; Leslie Sinclair; Leslie Sinclair; Robert N
Sinclair; Irma Siney; Daniel Sistrunk; Felix G
Skinner; Felix Skinner, II; Janet Skinner; Mary



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Beth Skitt; Phillip D Skitt; Craig R Skok; Jane
Skvarich; Roy Slagle; James P Slaton; Dennis
Sledzianowski; Shannon Sledzianowski; Daryl
Slick; Donna Slick; Doris Sloan; Earskin Sloan;
Lillie M Sloan; Robert Sloane Sr; Patricia Sloane;
Kenneth D Smallwood; Lawrence M Smathers;
Michael Willis Smathers; Leo L Smith Jr; Leo L
Smith Jr; Amanda Smith; Angela Smith; Danielle
Smith; Danny S Smith; Earnest L Smith; Elease
Fogle Smith; Gary L Smith; Geneva Smith; Gloria
Smith; Jessica R Smith; Joe F Smith; John Smith;
Johnathan Smith; Julian Smith; Kenneth D Smith;
Kimberly Smith; Margaret Smith; Michael Lee
Smith; Nanci Smith; Robert B Smith; Robert M
Smith; Roger Smith; Terry P Smith; Terry S Smith;
Timothy Smith; Timothy K Smith; Troy S Smith;
Walter M Smith; Michael Smurthuaite; Ramon
Snow; Thelissa A Snow; Alan Sobocinski;
Kathleen Sobocinski; Solid Rock Property
Enterprise, Inc; Paul A Sonntag; Dennis J Sorrells;
Mario L Soto; Kathleen Sounia; Lloyd Southwick;
Lou Spear; Joshua Spearman; Kelly Spearman;
Kelly Spearman; Deborah Spencer; Lance L
Spencer; Felicia Spinelli-Dixon; Amelia Spinks;
Ira L Spinks; Steven E Spires Sr; Steven E Spires
Sr; Jeffrey Spivey; Keri Spivey; Kimberly Spivey;
Alesia Sprouse; Anthony Sprouse; Augusto
Squadrito;     Roberta     Stackhouse;      Roberta
Stackhouse; David Staley; David Staley; Terri
Staley; Ronald J Stalvey Jr; Maria Walters Stamey;
Raymond C Stamey; Dorothy E Stancliff; Corina
Stanescu; Walter Staples; Barry L Stapleton;
Timmie Stapleton; Michael Stasney; Sandra
Stasney; Joanne Stearns; Robert Stearns; Russell E
Stearns; Charles C Steedley; Jimmy A Steedley;
Rainie Steedley; Jerry Steele; Joseph Steele;
Marjorie A Steele; Dale Steenrod; Charles L
Stegman; Robert W Stein; Sherry Stein; Gary D
Steinly, Jr.; Gaye Stell; Harold L Stell; Dorothy B
Stephens; Doyle Stephens; Rodney Stephens;
Charles R Stepp; John E Stepp; Wendy Stepp;
Anton W Sterba; Michael Stesania; Andy L
Stevens; Deanne Stevens; Howard D Stevens;
Ramona Stevens; Joann Steves; Robert P Steves;
Clifton T Stewart; Patricia D Stewart; Billie Stice,
Jr.; Tracy Stice; Jason Stidham; Mary Stidham;
Carolyn Stines; Christopher Stines; Eugene H
Stines; Sandra Stines; Michael A Stipick; Heather



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D Stockton Carey; Andrei Stoddard; Rod
Stoddard; Jason A Stone; Jamie S Story; Danny
Stough, Sr; Irvin S Stover; Benjamin W Strait;
Benjamin W Strait; Gaye Stratton; Jeffrey A
Stratton; Lucille B Street; Betty J Stretanski;
Daniel M Strickland; Eugena Strickland; Karen
Strickland; Kay L Strickland; Nola Strickland;
Nola Strickland; Bobby Stroud; Dennie Stroud;
Rodney Stroud; Theo Stroud; Struding
Corporation; Dan Stubblefield; Christine Stuman;
Michael J Suggs; Khalida Khanum Suleman; Mary
Sullins; Archie Sullivan; Darryl Sullivan;
Ernestine Sullivan; Lillian Sullivan; Janet
Sumerel; Thomas M Sumerel, Jr.; Sharon
Summey; Beauford H Suttles; Becky H Sutton;
Charles A Sutton; George D Svoronos; Carl A
Swanger; Julia Swanger; Lynn Swanger; Summer
Swayngham; William Swayngham; Jasmine
Swearinger; Jasmine Swearinger; Don Sweenor;
Margarette Sweenor; Teresa Sweenor; Marianna
Szabo; Gerald Talian; Janice Talian; Christopher J
Tam; George C Tam; Ruby Tan; Wai C Tan; Barry
Taracks; Gabriela Tarnay; Isabel Tarnay; James T
Tarver; Diane Tasker; Robert W Tasker; Barbara
Jean Tate; Dan Reid Tate; Ted Marvin Tate;
Richard R Tatham; Brenda Taylor; Carol J Taylor;
Christopher Taylor; Jack A Taylor; John K Taylor;
Martin Taylor; Ray E Taylor; Rebecca Taylor; Tim
Taylor; Timothy L Taylor; Vivian Taylor;
Jonathon Teets; Adham Teifur; Leonardo Teifur;
Ashley Temple; Robert T Temple; Dennis Tench;
Joe Tesner; Thelma Tesner; Paul E Thacker; Sonya
Thale; Nancy C Thames; Joanne Thatcher; The
Howe; Leonce F Thelusma; Judith A Thomas;
Judith A Thomas; Julius Thomas; Lauren Thomas;
Michael A Thomas; Mildred D Thomas; Paula
Jean Price Thomas; Richard C Thomas; William L
Thomas; Allen E Thomason; Deborah Thomason;
Bruce R Thompson; Chong Ae Thompson;
Christine C Thompson; Colleen F Thompson;
Faith Thompson; Polly Thompson; Teresa S
Thompson; William K Thompson; Doniphan O
Thomson; William C Thorman; Percy Thorne Sr;
Lucy Thorne; Charles Thornton; Sarah Thorp;
Yasmin Y Thrasher Hickman; Mary Threatt; Three
Little Dogs, LLC; Charles R Thrift; Debbie Thrift;
Brynn Throgmorton; Eric Throgmorton; Patricia
Thurley; Randall Thurley; Alan Tighe; Katherine



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Tillman; Jacqueline R Timms; Calvin W Tinsley;
Elizabeth Tinsley; Philip Tipton; Robert S Tisdale;
Boyce Todd; Lillian Todd; Steve Todd; Rafael
Toloza; Eloise P Tonge; Terry Tonkin; Margarita
Maria Toro Giraldo; Martha C Toro; Christopher
M Torres; Dean Torres; Linda Torres; Linda Torri;
Thomas J Torri; Thomas G Totherow; Dorothee
Toy; Trailwinds Investments, LLC; Anna Travis
Estate; James Traynum; Tammy Traynum;
Desaussure M Trevino; Christine Trexler; Robert
Trexler; Billy R Tribble; Marsha Tribble; Carole
Trickett; Thomas E Trickett; Catalina Trigo; Maria
I Trigo; Liliana G Trillos; Sandra Trillos; Leonard
K Triplett; Stephanie Tripp; Regina A. Trow-
Odell; Grady D Truett; Marcia Freeman Truett;
Jeffrey A Tucker; Pamela Tucker; Peter W Tucker;
Russell Tucker; William S Tucker; Eric
Tumbleston; Bobbie J Turner; Gwendolyn Turner;
Hans G Turner; Jack E Turner; Michael Turner;
Michael Turner; Sheri Turner; Sylvia Turner;
Tammy Turner; Van B Turner; William P Turner;
Alicia Tuten Canfield; Robert Tyler, Jr.; Donald L
Tyner; David Uhl; Harry Ulmer, III; Susan Ulmer;
Faye Underwood; Lillian Unger; Roland Unger;
Timothy A Unger; Joe E Upchurch; Peggy
Upchurch; Annette Urquhart; Ross Urquhart;
Pedro David Urrea; Louis Ursomanno; Patricia
Ursomanno; Adriana Uruena; Jose V Uruena;
Carol Ussery; Nicholas Vaglica; Valam LLC; Olga
L Valencia; Alissa M Valenzuela; Jose
Valenzuela; Barbara Van Arsdale; Stuart Van
Arsdale; Ruth Van Atter; William V Van Atter;
Debra Van Eerd; Martin F Van Eerd; David M
Vance; James M Vance; Richard Vance; Susan T
Vance; Daniel Vargas; Anthony L Varner;
Christopher Varner; Tammy Varner; Chris
Vassallo; Tabitha Lynne Vaughan; Tony Vaughn;
Wilfredo Vega; Paul Veilleux; Ana Paulina
Velencia; Hernan Alfredo Lucer Veliz; Brunello
Venturi; Carlos E Vergel; Scott A Verneau;
William E Vick Jr; Maria Vieira De Aran;
Francisco Vieira Pardo; Leila Vitale; Vito Vitale;
Vito Vitale; Kathy Von Itter; Raven Vrana; W H
Watson II Inc; Ronald A Wade; Edgar Wahl;
Edgar Wahl; David Waldrop; Larry Waldrop;
Michael Waldrop; Terri S Waldrop; Carrie Wali;
William R Walker Sr; William R Walker Sr; David
Walker; David Walker; Eda Walker; Eda Walker;



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Edward Walker; Helen Walker; Hope L Walker;
Johnny R Walker; Larry Walker; Susan Wall;
Jacalyn Wallace; Sharon Wallace; Sherriel G
Wallace; Kimberly Walling; Kevin F Walls; Linda
Walls; William H Walls; Carol Walsh; Donna
Walsh; Donna Walsh; William A Walsh; Barry D
Walters; Gary H Walters; Sandra Walton; Wes
Walton; Jih M Wang; Priscilla Wang; John L
Wannamaker Jr; Janice Ward; Leigha Ward;
Timothy Ward; William E Ward; Alan Warlick;
Russell Warren; Bernard W Washington; Richard
Watkins Jr; Donna Watkins; Janet H Watkins;
Robert D Watkins; Dennis M Watson; John C
Watson; Judy Watson; Larry M Watson; Richard
C Watson; William C Watson; Cindy Watts; Kayla
Watts; Thomas Watts; Camille Weatherly; Brian I
Weaver; Cameron Weaver; James M Weaver;
Ronald L Weaver; Steven T Weaver; Virginia
Weaver; Ray D Webb; Joel Weinhold; Bryan
Weisbecker; Charles Welborn; Kathy Welborn;
Aubrey N Wells; Kenneth Lee Wells; Truman
Wellsandt; Liesel West; Van West; Margaret
Westall; Roy Westall; Matthew Westbury;
Westminster Land Co LLC; Patricia H
Westmoreland; Harold Wethington; Rhonda
Wethington; Wexford Properties LLC; WH
Watson II, Inc; Shane Whatley; Barry Whealton;
Frances Whealton; Barbara E Wheatley; Natasha
Wheatley-Hunt; Richard S Wheeler; Humphrey W
Whelchel; Margie Whelchel; Joseph W White III;
Curtis D White Sr; Charles White; Deborah White;
Horace E White; Lucious White; Nancy White;
Nancy White; Samuel White; Gary Whitehead;
Judith Whitehead; Thomas H Whitley; Bennie L
Whitt; Christine Whitt; Thomas H Wicke; Robert
Wideman, Jr.; Charles Wiedenheft; Reba
Wiersma; Timothy Wiersma; Joseph Wiggins;
Melissa M Wiggins; Michael J Wiggins; Nathan
Wilbanks; Daivd Wilhelm; Henry Williams Jr;
Donna Capps Williams; Edna R Williams;
Glenvira Williams; Gregory D Williams; Harold
Williams; Haslett J Williams; Heather Williams;
Jeffery L Williams; Jeffrey D Williams; Jennifer
M Williams; Jonah K Williams; Joshua Williams;
Mashayla K Williams; Matthew Williams;
Michael Williams; Ricky M Williams; Frances
Willis; Jacob Willis; Ralph V Willis; Christopher
Willoughby; Coye E Wilson Sr; Cheryl L Wilson;



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Fredrick Wilson; John Wilson; David Wilusz;
David Wilusz; Donna Winesett; William N
Winesett; Edrow H Wingo; Marsha Wingo; Gwen
Winter-Neighbors; Martha F Wise; Robert L Wise;
Billie Wiseman; Norval H Wiseman; Waldemar
Wisniewski;      Deborah      Wiwczar;    Michael
Wiwczar; Harrison Woerner; Harry J Woerner;
Harry J Woerner, III; Michael Wofford; Annette
Wolf; Kirk Wolf; Roderick Wolf; Janice Wolfe-
Easley; Koren Wong; Katie Wood; Kelly Wood;
Joe Woodruff; Mundy Woodruff; Emma Woods;
Glenn M Woodward, Jr.; Marty M Woody; Mary
Woody; Susan Wootten; Amanda Workman; Paul
Workman; Paul Worley; Tina Worley; George
Wright; Jacob D Wright; Sonja T Wright; Joe
Wrona; Llc Wtbryig; Fred Wulf; Woodrow Wyatt
Jr; Lura Wyatt; Priscilla Wyatt; Jason Wyman;
John Wymer; Kazuko Yamamoto; Robert K
Yamamoto; Mitchell G Yeargin; Joy B White
Yehl; Tabitah A Yothers; Donna M Young;
Johnnie M Young; Marilyn Young; Merrill A
Young; Nicole M Heath Young; Arron P K Yung;
Raivo Zageris; Andrew Zambetti; Mario Zambetti;
Terry Zamor; Koorosh Zanjani; Randall S
Zaremba; Jack L Zeager; Jo Anne E Zeager; Inge
L Zoeller; Victor Zordan; Gary Zvanovec; Andrew
R Zysk; Gloria Zysk; any and all heirs and assigns
of the foregoing named Defendants, and any
transferees of the Defendants’ interest which are
not of record with Plaintiff, including any person
who may be in the military service of the United
States of America, being a class designated as
John Doe; any unknown minors or persons under
disability, including incompetent persons, being a
class designated as Richard Roe; and any spouses,
former spouses, relationship partners and family
members of any named Defendant, including any
person who may be in the military service of the
United States of America, being a class designated
as Steven Stoe,

                       Defendants.


        Plaintiff Foxwood Hills Property Owners Association, Inc., a South Carolina corporation

 (“Plaintiff” or the “Association”) alleges and avers the following:



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               NATURE AND PURPOSE OF THIS ADVERSARY PROCEEDING

        1.      Plaintiff is a property owners association responsible for operating and maintaining

a residential development known as Foxwood Hills (the “Community”) located on Lake Hartwell

in Oconee County, South Carolina, comprised of approximately 4,100 lots currently owned by

over 3,200 owners of record.           Plaintiff’s duties include the maintenance, operation and

management of over forty miles of roadways and certain real estate and amenities, including a

clubhouse, a pool, tennis courts, a parking area, docks, substantial common areas and certain

vacant lots.

        2.      This adversary proceeding seeks relief relating to (a) membership in the

Association and voting rights; (b) restrictions in certain deeds and recorded real property filings,

some of which have not been followed or enforced for decades; (c) inequitable treatment that

would result if the restrictions were now enforced; and (d) the financial fall-out resulting from

disputes that have arisen over the restrictions, which jeopardizes Plaintiff’s ability to properly

operate and fulfill its responsibilities in the future.

        3.      To accomplish these objectives, this Complaint includes causes of action seeking a

declaratory judgment and equitable relief based on equitable principles and maxims. Specifically,

Plaintiff seeks an order from the Court declaring that (a) all Defendants are members of the

Association with equal voting rights, and (b) all Defendants must pay annual budget-based dues,

fees and assessments to Plaintiff in order to allow Plaintiff to remain solvent and meet its annual

approved budget.

        4.      The Association may commence additional adversary proceedings in its Chapter 11

case to address other issues that are specific to only a limited number of sections in the Community,

not the Community as a whole. Such other adversary proceedings may also address adjoining lot




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agreements and the reformation of restrictive covenants for certain sections of the Community.

The Association intends to solicit the input and participation of the members of the sections

affected by those other issues, in addressing them. The Association also intends to solicit the input

and participation of owners in the adoption of new Bylaws.

                                 JURISDICTION AND VENUE

       5.      This adversary proceeding is filed under the provisions of the Declaratory Judgment

Act, 28 U.S.C. § 2201, et seq., for declaration that certain restrictions of record which would limit

Plaintiff’s rights in regard to the assessments due to it for payment by the defendants are

unenforceable and invalid, and for relief under 11 U.S.C. § 105(a), pursuant to Rule 7001(2) and

(9) of the Federal Rules of Bankruptcy Procedure.

       6.      This Court has jurisdiction of this adversary proceeding pursuant to 28 U.S.C. §§

1334(b) and 157(a) and Local Civil Rule 83.IX.01 (D.S.C.). This matter is a core proceeding under

28 U.S.C. § 157(b)(2)(A) and (O). Venue is proper in this district pursuant to 28 U.S.C. § 1409(a).

                                         THE PARTIES

       7.      Plaintiff is a nonprofit corporation organized and existing under the laws of the

State of South Carolina and doing business in Oconee County, South Carolina.

       8.      The above-named defendants (“Defendants”) are the current owners of record of

lots within the Community; provided, however, that the John Doe, Richard Roe and Steven Stoe

designated classes of defendants are not owners of record, but are, instead, designated to address

any unknown and unrecorded interests in the Community. In addition to Defendants, Plaintiff and

the Oconee County Forfeited Land Commission also own many lots within the Community.




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       9.      Defendants are individuals and entities who reside throughout the United States of

America and in foreign jurisdictions. Some Defendants reside at the lots they own within the

Community, while others reside elsewhere.

       10.     A controversy exists regarding membership in Plaintiff, voting rights and the

amount and calculation of the dues, fees and assessments that must be remitted to Plaintiff by

Defendants. At present, that controversy has imperiled Plaintiff’s ability to continue to properly

operate and fulfill its responsibilities, which precipitated Plaintiff’s filing this Chapter 11 case on

May 8, 2020.

                                 HISTORICAL BACKGROUND

       11.     At all points during the life of the Association, its Board of Directors has consisted

of unpaid volunteers. The board members are also owners of lots in the Community. Since 1993,

the Board of Directors has changed many times, and the current Board of Directors cannot confirm

that it is in control and possession of all historical records related to the Community. Accordingly,

all allegations stated in this Complaint are upon Plaintiff’s information and belief.

                                           A. 1971 – 1977

       12.     In 1971, Lakeshore Land Company (“Lakeshore”) created Mountain Bay Estates

(“Mountain Bay”), and served as Mountain Bay’s developer until 1976. Mountain Bay would

later become the Community known as Foxwood Hills.

       13.     Fulton National Bank held a mortgage on either all or a substantial portion of the

real estate owned by Lakeshore that comprised Mountain Bay.

       14.     On August 25, 1972, Lakeshore filed those certain Restrictions (the “1972

Lakeshore Restrictions”) in the Office of the Oconee County Clerk of Court (the “Oconee

Clerk”) in Deed Book 11-L, Page 153.




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           15.      Paragraph thirteen of the 1972 Lakeshore Restrictions stated that a $48.00

assessment would be levied each year against each lot for the maintenance of the road system and

recreational facilities. Upon information and belief, this assessment figure was not an amount

calculated by Lakeshore to cover the future needs of the Association, but, instead, was intended to

entice third-parties to purchase lots in Mountain Bay.

           16.      The 1972 Lakeshore Restrictions refer to what are now called Sections A, B, C, D

and F within the Community because those five Sections were the only Sections created as of that

time, which comprised Mountain Bay.

           17.      The 1972 Lakeshore Restrictions predate the creation of Plaintiff, or of any other

property owner association for owners in the Community.

           18.      Lakeshore sold certain lots in Mountain Bay to third parties between 1971 and 1976

(the “Mountain Bay Lots”).

           19.      Prior to December 1976, Lakeshore defaulted under its payment obligations to

Fulton National Bank, causing Fulton National Bank to foreclose its mortgage lien on all property

still owned by Lakeshore at that time1 (the “Foreclosed Lots”).

           20.      Fulton National Bank was the successful bidder at the foreclosure sale of the

Foreclosed Lots, and Fulton National Bank took title ownership of the Foreclosed Lots by and

through those certain deeds recorded with the Oconee Clerk on December 20, 1976, at Deed Book

12-P, Page 354 and 355.

           21.      Accordingly, after conclusion of the foreclosure sale and recordation of all deeds

related thereto, Fulton National Bank became owner of all Foreclosed Lots in Mountain Bay.




1
    In other words, the lots foreclosed were the unsold lots still owned by Lakeshore, the original developer.


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       22.     Between December 20, 1976, and December 14, 1977, Fulton National Bank sold

certain of the Foreclosed Lots to third parties. These Foreclosed Lots that Fulton National Bank

sold to third-parties shall also be considered Mountain Bay Lots for purposes of that term defined

hereinabove. Therefore, “Mountain Bay Lots” shall be defined as (a) those certain lots purchased

by third-parties directly from Lakeshore, prior to the foreclosure; and (b) those certain lots

purchased by third-parties directly from Fulton National Bank, after the foreclosure.

       23.     On December 14, 1977, Foxwood Corporation registered as a corporation in the

Office of the South Carolina Secretary of State.

       24.     On December 15, 1977, Fulton National Bank conveyed all of the unsold

Foreclosed Lots it owned to Foxwood Corporation, by and through that certain Limited Warranty

Deed recorded with the Oconee Clerk on December 29, 1977, at Deed Book 12-X, at Page 200.

       25.     At the end of 1977, the Community consisted of Sections A, B, C, D, and F. Some

of the lots within these five sections are Mountain Bay Lots, others are not.

                                   B. 1978 – November 1993

       26.     On April 24, 1978, Plaintiff, Foxwood Hills Property Owners Association, Inc.,

was registered as a nonprofit corporation in the Office of the South Carolina Secretary of State.

       27.     From 1978 to November 1993, Foxwood Corporation acted as the developer of the

Community and controlled Plaintiff.

       28.     Also from 1978 to April 1979, Foxwood Corporation expanded the Community by

constructing infrastructure and adding the following Sections: G, Homestead, I, L, M, Hatteras I,

Hatteras II, Edisto, Newbury, Tidewater, Sherando, Orion, Kinston, Rapidan, and Panola.

       29.     On April 22, 1980, Foxwood Corporation added Aaron, which was also provided

with infrastructure.




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          30.   On March 16, 1981, Foxwood Corporation added Millhurst, which was also

provided with infrastructure.

          31.   From April 22, 1980, through March 15, 1981, Foxwood Corporation also filed

restrictions to add the following Sections: Leland, Fontana, Bellhaven, Chapin, Dellwood, Granby

and Woodcrest. However, Foxwood never constructed any material infrastructure for Leland,

Fontana, Bellhaven, Chapin, Dellwood, Granby or Woodcrest, and only a small number of lots

were sold in these Sections, which eventually led Plaintiff to cease considering any lots in these

Sections as part of the Community or seeking assessments from the owners of any lots therein.

Based on the lack of infrastructure, which prevents use of the lots for residential purposes,

annexation of these sections to the Community has been abandoned by all parties with any interest

therein, and owners of any lots in these Sections are not included as Defendants in this action.

          32.   After Foxwood Corporation took over as developer, Foxwood Corporation began

referring to the Community as “Foxwood Hills.” The Community is still known as “Foxwood

Hills.”

          33.   On December 1, 1993, Foxwood Corporation turned over control of Plaintiff to the

property owner members. At all times since December 1, 1993, Plaintiff has remained under the

control of the member owners, acting by and through Plaintiff’s Board of Directors.

           i. Language Addressing Assessments in Deeds From Foxwood Corporation

          34.   During the period from early 1978 through November 1993, while it was in control

of Plaintiff, Foxwood Corporation executed deeds conveying lots to purchasers that included

restrictions of differing amounts in the assessments payable to Plaintiff.




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       35.     No later than July 21, 1978, Foxwood Corporation deeded property to third-parties

that contained express restrictions therein. For example, a deed dated July 21, 1978, and recorded

with the Oconee Clerk on August 1, 1978, in Deed Book 13-C, Page 312, stated:

               Grantee covenants and agrees to pay maintenance dues, separate and
               apart from any which may be required by the recorded restrictions
               referenced below, payable to Foxwood Corporation in trust for the
               Foxwood Hills property owners’ association. When the property
               owners’ association is duly constituted, payments will be made
               to the property owners’ association. Such maintenance dues will
               range from $1.00 to $6.00 per month ($12.00 to $72.00) per year
               with the specific amount within these limits to be set each year
               by Foxwood Corporation or the property owners’ association.
               The maintenance dues may be adjusted beyond this amount by
               the property owners’ association in any year so that the
               maintenance assessment for that year may be increased by the
               percentage increase between the first month and the last month
               on annual assessment period in the Consumer Price Index for
               Urban Wage Earners and Clerical Workers (Revised CPI-W)
               (1967=100) as issued by the U.S. Department of Labor, Bureau of
               Labor Statistics, in its monthly press release entitled “News”, or
               such successor in index as may be designated by the U.S.
               Government. This assessment will be due and payable on a monthly
               basis. These maintenance dues may be used to maintain and
               improve roads and facilities of this subdivision, in order
               collectively and equitably to provide for the management and
               operation of the subdivision, Grantee agrees that Grantee and
               Grantee’s heirs and assigns shall be obligated to pay the above-
               stated maintenance dues and that payment of such dues shall be
               secured by a lien on the property sold hereby which may be
               foreclosed in the manner provided by the applicable South Carolina
               law. (emphasis added)

       36.     Thereafter, no later than July 10, 1990, Foxwood Corporation deeded property to

third-parties that contained different express restrictions therein. For example, a deed dated July

10, 1990, and recorded with the Oconee Clerk on September 26, 1990, in Book 631, Page 195,

stated the same as set forth in the 1978 deed quoted hereinabove; however, it provided the

following as to the amount of assessments:




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                Such maintenance dues will range from $1.00 to $9.00 per month
                ($12.00 to $108.00) per year with the amount within these limits to
                be set each year by Foxwood Corporation or the property owners’
                association.

       37.      Subsequently, no later than October 8, 2001, Foxwood Corporation deeded

property to third-parties that contained yet different express restrictions therein. For example, a

deed dated October 8, 2001, and recorded with the Oconee Clerk on November 13, 2001, in Book

1184, Page 160, stated the same as set forth in the 1978 deed quoted hereinabove; however, it

provided the following as to the amount of assessments:

                Such maintenance dues will range from $1.00 to $11.67 per month
                ($12.00 to $140.00 plus any special assessment) per year with the
                amount within these limits to be set each year by [] the Property
                Owners’ Association.

       38.      The deeds used by Foxwood Corporation to convey lots to third-parties contained

a range for annual assessments that fluctuated throughout the decades, subject to the Consumer

Price Index, to be set by Foxwood Corporation or Plaintiff each year.

             ii. Language Addressing Assessments in Restrictions for Each Section

       39.      From 1972 to 1981, Lakeshore and Foxwood Corporation recorded restrictions

(generally, the “Restrictions”) for each Section that is currently a part of the Community. The

language in the Restrictions dealing with the amount of assessments payable by each lot owner

and each owner’s membership within Plaintiff varied over time.

                a. The 1972 Lakeshore Restrictions for Sections A, B, C, D and F

       40.      As stated hereinabove, on August 25, 1972, Lakeshore filed the 1972 Lakeshore

Restrictions with the Oconee Clerk in Deed Book 11-L, Page 153.

       41.      The 1972 Lakeshore Restrictions referred to Sections A, B, C, D and F.

       42.      The 1972 Lakeshore Restrictions stated, in relevant part, that:




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                A $48.00 assessment per year shall be levied against each lot for the
                maintenance of the road system and recreational facilities. Such
                assessment shall be considered a lien against said lot. This
                assessment will be due and payable January 15th and each ensuing
                year thereafter.

       43.      Upon information and belief, this flat, perpetual assessment figure was not a

calculation of assessment amounts needed to fund the future needs of Plaintiff, which did not exist

when the 1972 Lakeshore Restrictions were recorded, but was intended by Lakeshore to entice

third-parties to purchase lots in Mountain Bay.

             b. The 1978 Restrictions for Sections G, I, L, M, Hatteras I and Homestead

       44.      On August 4, 1978, Foxwood Corporation recorded those certain Restrictions for

Sections G, I, L, M, Hatteras I and Homestead with the Oconee Clerk at Book 13-C, Pages 365,

366, 367 and 368, (the “1978 Foxwood Restrictions”), wherein Foxwood Corporation imposed a

uniform development plan on Sections G, I, L, M, Hatteras I and Homestead, as Sections within

the Community as a whole.

       45.      With respect to assessments, the 1978 Foxwood Restrictions state, in relevant part:

                A $60.00 assessment per year shall be levied against each lot for the
                maintenance of the road system and recreational facilities. Such
                assessment shall be considered a lien against said lot. This
                assessment will be due and payable January 15th and each ensuing
                year thereafter.

       46.      The 1978 Foxwood Restrictions were recorded during the time Foxwood

Corporation controlled Plaintiff and Foxwood Corporation was acting as a developer for the unsold

property in the Community.

       47.      The provisions related to an owner’s payment of assessments to Foxwood

Corporation, and later to Plaintiff, differed significantly between the 1972 Lakeshore Restrictions,




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the 1978 Foxwood Restrictions, and the various deeds Foxwood Corporation used to convey lots

to third parties from 1978 through the 2000s.

              c. The 1979 Foxwood Restrictions – Hatteras II, Edisto, Newbury,
          Tidewater, Sherando, Orion, Kinston, Rapidan, Panola, Aaron and Millhurst

       48.     Between 1979 and 1981, Foxwood Corporation filed Restrictions for the following

Sections: (a) Hatteras II, (b) Edisto, (c) Newbury, (d) Tidewater, (e) Sherando, (f) Orion, (g)

Kinston, (h) Rapidan, (i) Panola, (j) Aaron, and (k) Millhurst (the “1979 Foxwood Restrictions”).

       49.     The 1979 Foxwood Restrictions provide, in relevant part:

               Every record owner of a lot, including contract purchasers, but
               excluding person holding title merely as security for performance of
               an obligation, will automatically become and be a member of the
               Foxwood Hills Property Owners’ Association, and is and shall be
               subject to the By-Laws, Rules and Regulations of Foxwood Hills
               Property Owners’ Association. Foxwood Hills Property Owners’
               Association has been incorporated under the laws of the State of
               South Carolina as a non-profit corporation.

               The voting rights of members will be determined by the applicable
               provisions of the By-Laws of the Foxwood Hills Property Owners’
               Association, which provisions are incorporated herein by this
               reference.

               Until such time as the Common Properties are owned by the
               Foxwood Hills Property Owners’ Association, neither the
               Association nor its members shall have any legal right to said
               Common Properties, unless the Developer grants such legal rights.
               If and when the Association shall own one or more of the Common
               Properties, then each member, his family members and guests
               residing with him/them in his household shall be entitled to the use
               and enjoyment of those Common Properties which are owned by the
               Association, subject to reasonable regulation which the Board of
               Directors shall have the power to prescribe, including, but not
               limited to, payment of maintenance fees, assessments, and use
               charges. Such right and easement of enjoyment of those Properties
               shall be appurtenant to and shall pass with the title to every lot.

       50.     The 1979 Foxwood Restrictions stated that all lot owners within the Hatteras II,

Edisto, Newbury, Tidewater, Sherando, Orion, Kinston, Rapidan, Panola, Aaron and Millhurst



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sections of the Community are members of the Association and subject to the Association’s

Bylaws, Rules and Regulations.

       51.     The 1979 Foxwood Restrictions also addressed the amount of annual assessments.

The assessment language was identical to that stated in the 1978 Foxwood Restrictions for Sections

G, I, L, M, Hatteras I and Homestead, with the exception that it allowed for the assessments to be

paid monthly, at the option of the developer, its successors or assigns.

       52.     On January 15, 1979, Foxwood Corporation recorded the 1979 Foxwood

Restrictions with the Oconee Clerk for Hatteras II, Edisto, and Newbury at Book 13-H, Pages 145,

146 and 147.

       53.     On April 23, 1979, Foxwood Corporation recorded the 1979 Foxwood Restrictions

with the Oconee Clerk for Tidewater, Sherando, Orion, Kinston, Rapidan and Panola at Book 13-

J, Pages 414, 415 and 416.

       54.     On April 22, 1980, Foxwood Corporation recorded the 1979 Foxwood Restrictions

with the Oconee Clerk for Aaron at Book 13-V, Page 230.

       55.     On March 16, 1981, Foxwood Corporation recorded the 1979 Foxwood

Restrictions with the Oconee Clerk for Millhurst at Book 14-G, Page 186.

       56.     Therefore, the provisions related to (a) the owners’ membership within the

Association, (b) the owners’ being subject to the Association’s Bylaws, and (c) payment of

assessments to the Association, differed significantly between the 1972 Lakeshore Restrictions,

the 1978 Foxwood Restrictions, 1979 Foxwood Restrictions, and the various deeds Foxwood

Corporation used to convey lots to third parties from 1978 through the 2000s.




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                                      iii. The Association’s Bylaws

                                            a. The 1978 Bylaws

         57.     In 1978, Foxwood Corporation promulgated the Association’s first set of Bylaws,

entitled Bylaws of the Foxwood Hills Property Owners Association (the “1978 Bylaws”).

         58.     The 1978 Bylaws2 are expressly incorporated by reference into the 1979

Restrictions.

         59.     The 1978 Bylaws provide, in relevant part:

                 (a)     “Association” is defined as the Foxwood Hills Property Owners

Association, Inc.

                 (b)     A “Member” is defined as any owner of a lot, or lots, within the

Community;

                 (c)     “Common Properties” are defined as all real property owned by the

Association “for the common use and enjoyment of the owners.”

                 (d)     “Every person or entity who is a record owner of a title or undivided interest

in title to any real property is subject to dues and assessments by the Association.”

                 (e)     “The rights of membership are subject to the payment of annual dues and

assessments levied by the Association, the obligation of which dues and assessments is imposed

against each owner of and become a lien upon the property against which such dues and

assessments are made.”

                 (f)     “Each Member, his/her family members and guests residing with him/her

in his/her household shall be entitled to the use and enjoyment of the Common Properties which



2
  While the 1978 Bylaws were later superseded in whole by the 2003 Bylaws (defined below), many portions are
quoted herein to provide historical background. Furthermore, many portions of the 1978 Bylaws remain in place in
the current 2011 Bylaws (defined below).


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are owned by or available to the Association, subject to reasonable regulations which the Board

shall have the power to prescribe, including, but not limited, payment of dues, assessments, and

use charges.”

                (g)    The Common Properties at the time the Association was formed include,

without limitation, the Huntsman Clubhouse, two (2) tennis courts, a multi-purpose court, and an

outdoor swimming pool.

       60.      With respect to voting rights, the 1978 Bylaws provide:

                ARTICLE IV. VOTING RIGHTS IN THE ASSOCIATION
                          Section 1. The Association shall have two (2) classes of
                membership pertaining to voting.
                          Members shall be all those owners as defined in Article III,
                Section 1 and shall be classified as follows:
                                 a. Lot owners who purchased their lot from either
                (1) Foxwood Corporation or (2) a successor corporation to the
                Foxwood Corporation or (3) the prior developer to the Foxwood
                Corporation or a chain of title which does not include Foxwood
                Corporation and who agree, by recorded instrument, to the payment
                of such reasonable dues and assessments as are set by the association
                for all lots. The ownership of each lot by said member, as defined
                in Article III, Section 1, carries with it one (1) vote per lot.
                                 b. Lot owners who purchased lots from the prior
                developer to the Foxwood Corporation or purchased their lot
                through a chain of title which does not include the Foxwood
                Corporation and who do not agree, by recorded instrument, to the
                payment of such dues and assessments as are set by the Association.
                Lot owners who comprise this class of membership will have no
                vote and are prohibited from holding any office in the Association.
                          Section 2. When more than one person holds interest in any
                lot, all such persons shall be members, and the vote for such lot shall
                be exercised as they among themselves determine, but in no event
                shall more than one Vote nor a fraction of a Vote be cast with respect
                any such lot.

       61.      Article IV, Section 1(b) is referring to only those lot owners who own lots originally

purchased from Lakeshore or from Fulton National Bank. These lots are defined hereinabove as

the “Mountain Bay Lots.”




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      62.    With respect to the members’ payment of dues, fees and assessments, the 1978

Bylaws provide:

             ARTICLE XIV. DUES AND ASSESSMENTS.
                      Section 1. Power to Charge Dues and Assessments: The
             Association through the vote of the Board of Directors shall have
             the power to charge annual dues and assessments as stated in the
             recorded covenants and restrictions for the purposes and in
             accordance with the provisions of this Article. In accordance with
             Article IX, Section 1, the Board may, in its discretion exempt the
             second lot owned by a lot purchaser from dues and assessments, if
             the lot purchaser has purchased two (2) lots and has built a dwelling
             on one (1) or more lots. Lot purchasers who purchased their lots
             from the prior developer to the Foxwood Corporation or purchased
             their lot through a chain of title which does not include the Foxwood
             Corporation, and who do not agree, by recorded instrument, to the
             payment of such dues and assessments as are set by the Association
             for all lots shall be subject to the dues and assessments set in the
             applicable covenants and restrictions to their lots, plus reasonable
             use fees for facilities owned by the Association.
                      Section 2. Payment of Dues and Assessments: Members
             agree to pay to the Association annual dues and such assessments
             that may hereafter be charged by said Association in accordance
             with its Charter and these Bylaws.               However, under no
             circumstances, shall the Board levy assessments in any one (1) year
             greater in amount than the annual dues then in effect.
                      Section 3. Payments Subject to Continuing Lien: In the
             event annual dues and assessments are not paid when due, such
             amounts owed shall thereafter bear interest at the rate of twelve (12)
             percent per annum from the date of delinquency, which is equal to
             one percent per month on the unpaid balance. Further, in the event
             it becomes necessary for the Association to take any legal action to
             collect any delinquent payments, and any interest, thereon, there
             shall be added to such payment amounts reasonable attorney fees
             and all Court costs incident thereto. All dues and assessments
             payable to the Foxwood Hills Property Owners’ Association, Inc.,
             together with any interest or legal fees, collection costs, or other
             costs incident thereto, if any, shall be a charge on the land owned by
             each property owner, and shall be a continuing lien upon said
             property.

      63.    On January 9, 2019, the 1978 Bylaws were recorded in the Office of the Oconee

County Register of Deeds (the “Oconee ROD”) at Book 2427, Page 139.




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                                    b. The First Revised Bylaws - 2003

         64.     Effective March 15, 2003, Plaintiff promulgated those certain First Revised Bylaws

of Foxwood Hills Property Owners Association, Inc. (the “2003 Bylaws”).

         65.     The 2003 Bylaws3 completely superseded the 1978 Bylaws.

         66.     While several revisions were made in the 2003 Bylaws, the most relevant

superseding revisions for purposes of this action were with respect to (a) membership within the

Association and (b) “fees, dues and assessments” in Article XV, wherein the 2003 Bylaws

expanded Plaintiff’s authority to charge fees, dues and assessments to all lot owners in the

Community.

         67.     With respect to membership, Article IV of the 2003 Bylaws provides, in relevant

part:

                 ARTICLE IV MEMBERSHIP

                 Section 1. Every person who is a record owner of title or undivided
                 interest in title to any real property within the Foxwood Hills
                 development is subject to fees, dues, and assessments, as authorized
                 by the applicable restrictive covenants or these Bylaws, levied by
                 the Association, including contract purchasers, but excluding
                 persons holding title merely as security for performance of an
                 obligation, shall be a member of the Association.

         68.     With respect to fees, dues and assessments, Article XV of the 2003 Bylaws

provides, in relevant part:

                 ARTICLE XV FEES, DUES, AND ASSESSMENTS

                          Section 1. Power to Charge and Collect Dues and
                 Assessments: The Association, through the vote of the Board of
                 Directors, shall be empowered to charge, impose and collect all fees,
                 dues, and assessments, provided for in each lot owner’s applicable
                 restrictive covenants and as otherwise permitted by these Bylaws for

3
  While the 2003 Bylaws were later superseded in whole by the 2011 Bylaws (defined below), many portions are
quoted herein to provide historical background. Furthermore, many portions of the 2003 Bylaws remain in place in
the current 2011 Bylaws (defined below).


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          the purposes and in accordance with the provisions of this article.
          In accordance with Article X, Section 1.d, the Board may, in its
          discretion, exempt the second adjoining lot owned by a lot purchaser
          from assessment, if the lot purchaser has purchased two (2) lots. Lot
          purchasers who purchased their lots from the entity which was the
          developer prior to the Foxwood Corporation or purchased their lot
          through a chain of title which does not include Foxwood
          Corporation and who do not agree by recorded instrument, to the
          payment of such maintenance and membership dues and fees as are
          set by the Foxwood Corporation or the Association for all lots shall
          be subject to the assessment set in the applicable covenants and
          restrictions to their lots, plus those fees, dues and assessments
          provided for in these Bylaws.
                   Section 2. Yearly Assessments: The Association is
          empowered to impose all lot owners a yearly assessment[]. The
          association is further empowered to set an amount for yearly
          assessments as to those lot owners who purchased their lot or lots
          from Foxwood Corporation, a successor corporation, or the
          developer prior to Foxwood Corporation and who agree, by
          recorded instrument, to pay those fees, dues, and assessments as are
          set for those lot owners whose chain of title flows from Foxwood
          Corporation or a successor corporation to Foxwood Corporation.
          The Association is also empowered to set up an amount for
          yearly assessments as to those lot owners who purchased their
          lot or lots from a developer prior to Foxwood Corporation and
          who do not, by recorded instrument, agree to pay those fees,
          dues, and assessments as are set for those members whose chain
          of title flows from Foxwood Corporation or a successor
          corporation to Foxwood Corporation. Both such yearly
          assessments shall be set so as to enable the Association to meet the
          approved yearly budget and all monies so collected shall be
          deposited into the operating account of the Association.
                   Section 3. Special Assessments: The Association through
          the vote of the Board of Directors is empowered to impose and
          collect special assessments from each lot owner. These special
          assessments may be imposed and collected for road maintenance,
          the purchase of assets, pool maintenance, building projects,
          expansion projects, engineering studies, the remodeling of
          amenities, and Association satisfaction of adverse judgements, and
          the like. The amount charged by way of special assessment shall be
          equally divided among all lot owners.
                   Section 4. Emergency Assessments: The Association
          through vote of the Board of Directors, is empowered to impose and
          collect emergency assessments for each lot owner. Those
          emergency assessments may be imposed and collected in response
          to destruction from catastrophic events, manmade or natural, and



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                from maintenance needs of an emergent nature. The amount
                charged by way of emergency assessment shall be equally divided
                among all lot owners.

        69.     The remainder of Article XV of the 2003 Bylaws addresses (a) specific

assessments; (b) assessments for legal fees and costs; (c) liens for fees, dues, and assessments, and

(d) Plaintiff’s remedies for nonpayment of dues and assessments.

        70.     The 2003 Bylaws further address, in relevant part, (a) collection and enforcement

actions (Article XVI); and (b) the formalization of a security force, to assist in matters including,

but not limited to, traffic regulation (Article XVII).

        71.     On January 9, 2019, the 2003 Bylaws were recorded with the Oconee ROD at Book

2427, Page 151.

                                c. The Second Revised Bylaws - 2011

        72.     Effective March 17, 2011, Plaintiff promulgated those certain Second Revised

Bylaws of Foxwood Hills Property Owners Association, Inc. (the “2011 Bylaws”).

        73.     The 2011 Bylaws completely superseded the 2003 Bylaws and remain in full force

and effect at the time of filing of this action.

        74.     With respect to Defendants’ membership within Plaintiff, and Plaintiff’s power to

charge and collect fees, dues, and assessments from Defendants, the 2011 Bylaws did not make

any notable revisions to the 2003 Bylaws sections quoted hereinabove. In this regard, no changes

were made for the “Yearly Assessments” to “enable the Association to meet the approved yearly

budget” set forth in Article XV, Section 2.

        75.     On January 9, 2019, the 2011 Bylaws were recorded with the Oconee ROD at Book

2427, Page 177.




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          76.   Therefore, the requirements related to (a) the owners’ membership within the

Association, (b) the owners’ being subject to the Association’s Bylaws, and (c) payment of

assessments to the Association, differed significantly between the 1972 Lakeshore Restrictions,

the 1978 Foxwood Restrictions, the 1979 Foxwood Restrictions, the various deeds Foxwood

Corporation used to convey lots to third parties from 1978 through the 2000s, and the 2011 Bylaws.

          77.   These variations between language in the recorded documents, and the deleterious

effects of them, are the primary reason for Plaintiff’s Chapter 11 bankruptcy filing, and the filing

of this adversary proceeding.

                                     C. December 1993 – Present

          78.   On December 1, 1993, Foxwood Corporation turned over control of the Association

to the property owners.

          79.   Since 1994, the Association has prepared and operated under an annual budget

approved by its Board of Directors.

          80.   Since 1994, all members in good standing of the Association have had the

opportunity to use the Association’s amenities, including, without limitation, over forty miles of

privately maintained roadways, a clubhouse, a restaurant and lounge, a swimming pool, and tennis

courts.

          81.   The over forty miles of roads within the Community are private roads, and are not

maintained by the county or any other government entity. Each Defendant must use the private

roads to access his, or her or its lot.

          82.   Since 1994, the Association has charged budget-based dues and assessments to all

Defendants (and their predecessors in title).     The purpose of these budget-based dues and

assessments is to enable the Association to maintain and preserve the roadways, amenities and




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common interest properties, and for the Association to remain solvent and meet its annual

approved budget.

       83.      The Association charged annual budget-based dues and assessments to all owners

of lots in the Community, except owners of Mountain Bay Lots, a total of $225.00 from 1994

through 2003.

       84.      The vast majority of these lot owners assessed the $225.00 by Plaintiff from 1994

to 2003 paid their assessments to the Association.

       85.      After the members approved and the Association promulgated the 2003 Bylaws,

the Association began increasing the annual budget-based dues and assessments to all owners,

including owners of Mountain Bay Lots. These annual dues and assessments from 2004 to the

present increased annually for the purpose of continuing to enable the Association to remain

solvent and meet its annual approved budget.

       86.      The vast majority of all lot owners in the Community who were assessed these

budget-based dues and assessments from 2004 to the present paid their yearly assessments in full

to the Association.

       87.      For all lots, except Mountain Bay Lots, the Association has charged the following

budget-based amounts from 1994 through 2020:

         YEAR           DUES               ASSESSMENTS                        TOTAL

        1994           $132.00                   $93.00                       $225.00

        1995           $136.00                   $89.00                       $225.00

        1996           $140.00                   $85.00                       $225.00

        1997           $144.00                   $81.00                       $225.00

        1998           $148.00                   $77.00                       $225.00




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     1999          $150.00               $75.00                   $225.00

     2000          $156.00               $69.00                   $225.00

     2001          $161.00               $64.00                   $225.00

     2002          $164.00               $61.00                   $225.00

     2003          $168.00               $57.00                   $225.00

     2004          $246.00               $54.00                   $300.00

     2005          $264.00               $46.00                   $310.00

     2006          $284.00               $37.00                   $321.00

     2007          $299.00               $30.00                   $329.00

     2008          $328.00               $17.00                   $345.00

     2009          $370.00               $17.00                   $387.00

     2010          $370.00               $17.00                   $387.00

     2011          $370.00               $17.00                   $387.00

     2012          $312.00               $75.00                   $387.00

     2013          $337.00               $75.00                   $412.00

     2014          $345.00               $75.00                   $420.00

     2015          $426.00               $75.00                   $501.00

     2016          $430.00               $27.00                   $457.00

     2017          $438.00               $135.00                  $573.00

     2018          $447.00               $115.00                  $562.00

     2019          $597.00                $0.00                   $597.00

     2020          $597.00                $0.00                   $597.00




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       88.      From 1994 through 2003, the Association charged budget-based dues and

assessments to the owners of the Mountain Bay Lots in the total amount of $96.00. This total

consisted of $48.00 in dues and $48.00 in assessments.

       89.      From 1994 through 2003, the vast majority of all owners of Mountain Bay Lots

paid their yearly $96.00 assessments in full to the Association.

       90.      After the members approved and the Association promulgated the 2003 Bylaws,

the Association began increasing the annual budget-based dues and assessments to all owners,

including owners of Mountain Bay Lots. These annual dues and assessments from 2004 to the

present increased annually for the purpose of continuing to enable the Association to remain

solvent and meet its annual approved budget.

       91.      From 2004 to the present, the vast majority of all owners of Mountain Bay Lots

paid their yearly assessments in full to the Association.

       92.      From 2004 through 2020, the Association has charged all or nearly all of the owners

of Mountain Bay Lots the following budget-based dues and assessments:

         YEAR           DUES                ASSESSMENTS                        TOTAL

         2004           $48.00                   $123.00                        $171.00

         2005           $48.00                   $129.00                        $177.00

         2006           $48.00                   $135.00                        $183.00

         2007           $48.00                   $140.00                        $188.00

         2008           $48.00                   $149.00                        $197.00

         2009           $48.00                   $173.00                        $221.00

         2010           $48.00                   $173.00                        $221.00

         2011           $48.00                   $173.00                        $221.00



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        2012           $48.00                    $303.00                        $351.00

        2013           $48.00                    $308.00                        $356.00

        2014           $48.00                    $312.00                        $360.00

        2015           $48.00                    $316.00                        $364.00

        2016           $48.00                    $345.00                        $393.00

        2017           $48.00                    $383.00                        $431.00

        2018           $48.00                    $368.00                        $416.00

        2019           $48.00                    $368.00                        $416.00

        2020           $48.00                    $375.00                        $423.00



                             D. Pre-Petition State Court Litigation

       93.      On October 13, 2017, Tona Renee Busbee (“Ms. Busbee”) filed that certain civil

action against the Association in the Oconee County Court of Common Pleas (the “State Court”)

under Case No. 2017-CP-37-00607 (the “Busbee Litigation”).

       94.     In the Busbee Litigation, Ms. Busbee asked the State Court for, among other things,

a declaratory judgment that (a) she must only pay annual assessments of $60.00 for each of the

three (3) lots she owns in the Hatteras I Section of the Community; and (b) she is not a member of

the Association.

       95.     In the responsive pleading filed by the Association in the Busbee Litigation, the

Association denied the relief sought by Ms. Busbee. In addition, in an effort to (a) obtain a

determinative ruling on these issues, which would be effective as to all lot owners in the Section,

(b) discourage additional owners from withholding payment of dues, fees and assessments payable

to the Association, and (c) discourage additional owners from filing separate, potentially multiple,



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lawsuits against the Association on these issues, the Association filed a Third-Party Complaint

against the owners of all lots in the Hatteras I Section (the “Hatteras I Owners”).

       96.     In the Association’s Third-Party Complaint against the Hatteras I Owners, the

Association asked the State Court for, among other things, a declaratory judgment that (a) all

Hatteras I Owners are members of the Association, and (b) all Hatteras I lots are subject to the

2011 Bylaws, and thus required to pay budget-based dues, fees and assessments.

       97.     The Association named approximately 202 Hatteras I Owners as Third-Party

Defendants in its Third-Party Complaint.

       98.     The (a) cost of private process servers to personally serve all Hatteras I Owners

(many of whom permanently reside in states across the United States); (b) cost of service by

publication for certain Hatteras I Owners that could not be located or who are deceased; and (c)

fact that the costly Busbee Litigation could result in the State Court determination only binding on

one (Hatteras I) of the Sections of the Community, led the Association to the conclusion that this

adversary proceeding would be a much more effective and efficient way for the Association to

address these issues across the entirety of the Community.

       99.     The Busbee Litigation has resulted in a greater percentage of Defendants not paying

Plaintiff the annual dues, fees and assessments, which could result in a financial crisis for Plaintiff

if the matters are not addressed and resolved now.

       100.    The challenges Plaintiff has faced in being unable to collect dues, fees and

assessments from certain delinquent Defendants (and their predecessors in title) has put a

significant strain on Plaintiff’s ability to maintain and preserve the Association’s amenities,

particularly the over forty miles of roadways. Some Defendants have complained about the current

condition of the roadways.




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         101.     Plaintiff seeks an order from the Court providing declaratory relief and equitable

relief, based on equitable principles and maxims, that all Defendants are members of the

Association, with the same voting rights.

         102.     Plaintiff also seeks an order from the Court providing declaratory relief and

equitable relief, based on equitable principles and maxims, that Plaintiff may continue charging

budget-based fees, dues and assessments, as it has done since 1994, to all lot owners in the

Community except owners of the Mountain Bay Lots, who have been assessed a lesser amount

than all other owners in the Community. Plaintiff also seeks an order from the Court providing

declaratory relief and equitable relief that Plaintiff may charge all owners of the Mountain Bay

Lots full budget-based fees, dues and assessments going forward, equal to the fees, dues and

assessments paid by all other owners in the Community. 4

         103.     The Association is in dire need of judgments to this effect. This means of judicial

relief is the Association’s only known means to preserve and protect the Community and the

millions of dollars lots owners have invested in the community since 1972.

                        FOR A FIRST CAUSE OF ACTION
(Declaratory Judgment Based on Equitable Principles that All Defendants are Members of
                                  the Association)

         104.     Plaintiff incorporates the allegations of the preceding paragraphs of this Complaint

as if set forth herein verbatim.

         105.     This action is brought pursuant to Declaratory Judgment Act, 28 U.S.C. § 2201, et

seq., and Rule 7001 of the Federal Rules of Bankruptcy Procedure.

         106.     Plaintiff seeks a declaratory judgment from the Court that all Defendants are

members of the Association.


4
 This requested relief is consistent with Plaintiff’s other requested relief that all owners of the Mountain Bay Lots be
granted full membership and equal voting rights.


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       107.    Based on the significant variations in language on membership and payable amount

of fees, dues and assessments between the recorded (a) 1972 Lakeshore Restrictions, (b) 1978

Foxwood Restrictions, (c) 1979 Foxwood Restrictions, (d) various deeds Foxwood Corporation

used to convey lots to third parties from 1978 through the 2000s, and (e) 2011 Bylaws, Plaintiff

seeks equitable, rather than contractual, relief to accomplish its goals in this adversary proceeding.

       108.    The 1972 Lakeshore Restrictions and 1978 Foxwood Restrictions were deficient,

without limitation, in the following respects:

               (a)     Each provided for assessments in fixed amounts for perpetuity, without any

adjustment for inflation or increased maintenance costs. These perpetual fixed amounts did not

provide for an adequate source of funding for the privately maintained roads, common areas,

recreational facilities, and other facilities and amenities of the Community (the “Amenities”), or

for the operation of the Amenities.

               (b)     Each failed to provide for the creation of a property owners association to

maintain the roads, common areas, amenities, and other facilities of the subdivision. By failing to

address the Association at all, each also failed to provide for membership in the Association.

               (c)     Each failed to provide for collection of attorneys’ fees and costs in the event

assessments were not paid or the governing documents were otherwise breached, thereby making

enforcement of such provisions impracticable.

               (d)     Each failed to include an amendment provision.

       109.    Lakeshore and Foxwood Corporation breached their duty to the Association, and

to Defendants who are member owners, by failing to provide the Association and Community with

commercially reasonable provisions in the governing documents of the Community for the proper

functioning of the Association and Community.




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       110.    It violates the maxims and principles of equity for any Defendant to now claim that

he, or she, or it is not a member of the Association. Since at least 1993, all owners (and their

predecessors in title) have (a) enjoyed and taken advantage of certain membership rights within

the Association, (b) been charged, and expected to pay, fees, dues and assessments to or for the

benefit of the Association, (c) had the right to use and enjoy the Amenities, and (d) experienced

appreciation in their property values because of the existence and right of access to the Amenities.

None of these benefits would be possible if the owners were not members of the Association.

       111.    Defendants, as current owners of the lots in the Community, and their predecessors

in title, have received since 1993 those same membership rights and benefits from the Association

since the formation of the Association, a period reaching back twenty-seven (27) or more years.

       112.    A finding that Defendants’ membership in the Association is not automatic and

required, but instead voluntary, would result in: (a) the collapse of the Association, (b) loss of the

preservation and maintenance of the Amenities, (c) economic waste of the millions of dollars

owners, including most Defendants, have invested in the Association for decades, and (d)

reduction in Defendants’ property values.

       113.    A finding that some Defendants are not members of the Association would result

in the inequitable shifting of the full financial burden to the remaining members, while non-

members’ use of the Amenities, including the roads in the Community, would be effectively

subsidized.

       114.    The following equitable principles or maxims support this cause of action: (a)

quantum meruit/implied contract; (b) course of dealings/performance; (c) laches; (d) promissory

estoppel; (e) equitable estoppel; (f) waiver; and (g) statute of limitations.




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                               A. Quantum Meruit/Implied Contract

       115.    Plaintiff conveyed a benefit upon Defendants for the last twenty-seven (27) or more

years by furnishing the Amenities and other services to Defendants. Plaintiff continues to provide

the benefits to Defendants, for which Plaintiff will not be paid if Defendants are found to be non-

members.

       116.    Defendants knowingly and voluntarily accepted and enjoyed the benefits of the

services Plaintiff provided.    Defendants’ knowledge and notice of their membership within

Plaintiff, and use of the Amenities and other services Plaintiff provided is evidenced by:

               (a)     Defendants’ knowledge that they were purchasing lots in the Community,

which constitutes a “common-interest community” under South Carolina law;

               (b)     Defendants’ constructive notice and inquiry notice, by reason of the (i)

extensive private roads, common areas and other Amenities in existence when Defendants bought

their lots, (ii) statements in Defendants’ chains of title, and (iii) HUD-1 property reports given to

each Defendant prior to their purchases that Defendants were purchasing property in a “common-

interest community” which was, or would be, governed by the Association in which they would

be required to be a member, and that they would have an obligation to contribute to defray the

costs of the Association and Amenities.

       117.    At the time Plaintiff furnished services to Defendants, Plaintiff reasonably expected

such services and Amenities to be provided only to members of the Association, not non-member

third-parties. Defendants voluntarily and knowingly accepted the services furnished by Plaintiff

with full knowledge and reason to know that Plaintiff expected Defendants to be members of the

Association, and to have all the rights and obligations related thereto.




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       118.    Certain Defendants have wrongfully and without justification contended that they

are not members of the Association. A finding that Defendants’ membership in the Association is

not automatic and required, but instead voluntary, would result in (a) the collapse of the

Association, (b) loss of the preservation and maintenance of the Amenities, (c) economic waste of

the millions of dollars owners, including most Defendants, have invested in the Association for

decades, and (d) reduction in Defendants’ property values.

       119.    A finding that some Defendants are not members of the Association would result

in the inequitable shifting of the full financial burden to the members, while non-members’ use of

the Amenities would be effectively subsidized.

       120.    If Defendants are held to not be members of the Association after receiving

substantial benefits during the years such Defendants have owned lots in the Community,

Defendants will be unjustly enriched.

       121.    The conduct of Defendants’ predecessors in title is imputed to Defendants, and

Defendants stand in the shoes of their predecessors.

       122.    Under the equitable principle of quantum meruit, Defendants should be declared

members of the Association.

                        B. Course of Dealings/Course of Performance

       123.    The 1972 Lakeshore Restrictions and the 1978 Foxwood Restrictions do not

address lot owners’ membership in the Association; however, the 1979 Foxwood Restrictions and

Bylaws (1978, 2003 and 2011) each provide for all lot owners to be members of the Association.

       124.    Since the members’ approval of the 1978 Bylaws, all owners in the Community

have been treated as members of the Association.




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       125.    Since Foxwood Corporation turned over control of the Association to the lot owners

in the Community on December 1, 1993, Plaintiff has treated all owners in the Community as

members of the Association.

       126.    The owners of the Mountain Bay Lots have been treated as non-voting members

since 1978, and Plaintiff now requests as part of the relief granted herein that this status be changed

immediately, such that all Defendants, and their successors and assigns in title, are deemed full

members of the Association with the same voting rights. There is no basis in equity for Mountain

Bay Lot owners to not be able to vote, and the non-voting membership currently existing is yet

another flaw in the recorded governing documents that Plaintiff seeks to reform in this adversary

proceeding.

       127.    From the beginning of Lakeshore’s development of Mountain Bay (later to become

Foxwood Hills), Lakeshore provided in the 1972 Lakeshore Restrictions an obligation on the part

of property owners in the Community to pay an assessment for the maintenance of the road system

and recreational facilities in the Community, which later became the charge of the Association to

operate and maintain. Fulton National Bank continued this imposition of the obligation on lot

owners during the time it owned and sold lots in the Community, after its foreclosure action.

       128.    Foxwood Corporation formed the Association on April 24, 1978 for the purposes

which included taking charge of the maintenance of the roads, common areas and amenities in the

Community. Since that time, a period of approximately 42 years, Foxwood Corporation, and later

the Association, have treated all owners of lots in the Community as members of the Association.

       129.    The doctrines of course of dealings and course of performance are recognized to

accomplish equity. These doctrines are also recognized in The Restatement (Second) of Contracts

§ 223, and S.C. Code Ann. § 36-1-303.




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       130.    The conduct of Defendants’ predecessors in title is imputed to Defendants, and

Defendants stand in the shoes of their predecessors.

       131.    Under the doctrines of course of dealings and course of performance, all Defendants

should be declared members of the Association.

                                            C. Laches

       132.    “Laches ” is an equitable doctrine defined as neglect for an unreasonable and

unexplained length of time, under circumstances affording opportunity for diligence, to do what

in law should have been done.

       133.    The 1972 Lakeshore Restrictions and the 1978 Foxwood Restrictions do not

address lot owners’ membership in the Association; however, the 1979 Foxwood Restrictions and

the Bylaws (1978, 2003 and 2011) each provide for all lot owners to be members of the

Association.

       134.    Since the members’ approval of the 1978 Bylaws, all owners in the Community

have been treated as members of the Association.

       135.    Since the Community was turned over the Association on December 1, 1993,

Plaintiff has treated all owners in the Community as members of the Association.

       136.    While owners of the Mountain Bay Lots have been treated as non-voting members

since 1978, Plaintiff requests as part of the relief granted herein that this non-voting status be

changed immediately, such that all Defendants, and their successors and assigns in title, are

deemed full members with the same voting rights. There is no basis in equity for Mountain Bay

Lot owners to not be able to vote, and this limitation is yet another flaw in the recorded governing

documents that Plaintiff seeks to reform in this adversary proceeding.




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       137.    Foxwood Corporation formed the Association on April 24, 1978 for the purposes

which included taking charge of the maintenance of the roads, common areas and amenities in the

Community. Since that time, a period of approximately 42 years, Foxwood Corporation, and later

the Association, have treated all owners of lots in the Community as members of the Association.

       138.    The decades during which membership was not questioned suffice as neglect by

Defendants (and their predecessors in title) for an unreasonable and unexplained length of time,

under circumstances affording opportunity for diligence, wherein Defendants have been treated as

members of the Association, receiving all rights, obligations, and benefits therewith.

       139.    The conduct of Defendants’ predecessors in title is imputed to Defendants, and

Defendants stand in the shoes of their predecessors.

       140.    Defendants now taking the position that they are non-members should be barred

from that position under the equitable doctrine of laches.

                                    D. Promissory Estoppel

       141.    Defendants’ (and their predecessors in title) conduct since 1978, or such later time

that each Defendant purchased their lot, through (a) acceptance of the Association’s services; (b)

use of the Amenities; (c) participation in the Association’s meetings, events, and activities; (d)

payment of budget-based fees, dues and assessments; (e) execution of adjoining lot agreements or

key agreements; and (f) voting on Association matters, evidences Defendants’ unambiguous

promise to be members of the Association.

       142.    Plaintiff reasonably relied on Defendants’ (and their predecessors in title)

unambiguous promise since at least December 1993 by continuing to provide services to all

Defendants, including, without limitation, preserving and maintaining the roads and the Amenities.




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       143.      Plaintiff’s reliance on Defendants’ (and their predecessors in title) unambiguous

promise to be members of the Association is to be expected and foreseeable by Defendants.

Otherwise, Plaintiff would be unable to perform the services it is charged with, including

maintenance of the roads, common areas and Amenities, or to provide the other services it provides

to Defendants.

       144.      If Defendants are held to not be members of the Association, the Association would

sustain injury through reliance on Defendants’ (and their predecessors in title) promise. Such

injury would come in the form of: (a) collapse of the Association, (b) loss of the preservation and

maintenance of the Amenities, (c) economic waste of the millions of dollars owners, including

most Defendants, have invested in the Association for decades, and (d) reduction in Defendants’

property values.

       145.      The conduct of Defendants’ predecessors in title is imputed to Defendants, and

Defendants stand in the shoes of their predecessors.

       146.      Accordingly, based on the equitable principle of promissory estoppel, Defendants

should be declared members of the Association.

                                       E. Equitable Estoppel

       147.      In its broadest sense, equitable estoppel is a means of preventing a party from

asserting a legal claim or defense that is contrary or inconsistent with his or her prior action or

conduct.

       148.      Defendants’ (and their predecessors in title) conduct since 1978, or such later time

that each Defendant purchased their lot, through (a) acceptance of the Association’s services; (b)

use of the Amenities; (c) participation in the Association’s meetings, events, and activities; (d)

payment of budget-based fees, dues and assessments; (e) execution of adjoining lot agreements or




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key agreements; and (f) voting in Association matters, evidences a false representation or

concealment of material facts, if Defendants never believed themselves to be members of the

Association.

       149.    Defendants intended for Plaintiff to act upon Defendants’ (and their predecessors

in title) conduct since 1978, or such later time that each Defendant purchased their lot, by Plaintiff

continuing to provide services to Defendants, including, without limitation, preserving and

maintaining the roads, common areas and the Amenities.

       150.    If Defendants never believed themselves to be members of the Association, they

had knowledge of that fact and concealed it from Plaintiff.

       151.    Plaintiff had no knowledge or means of obtaining knowledge that Defendants

considered themselves non-members of the Association, if Defendants believed that to be true.

       152.    Plaintiff relied upon the conduct of Defendants (and their predecessors in title)

evidencing Defendants’ membership in the Association by continuing to provide services to

Defendants, including, without limitation, preserving and maintaining the roads, common areas

and the Amenities.

       153.    Plaintiff’s incurrence of expenses and obligations, and its adoption of a budget of

expenses, constitute prejudicial changes in position it took based on Defendants’ (and their

predecessors in title) conduct evidencing Defendants’ membership in the Association since 1978,

and especially since at least December 1993. Plaintiff would not have undertaken obligations it

now has upon it had it known that Defendants would later maintain that they are not members of

the Association.

       154.    The conduct of Defendants’ predecessors in title is imputed to Defendants, and

Defendants stand in the shoes of their predecessors.




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       155.    Accordingly, based on the equitable principle of equitable estoppel, Defendants

should be declared members of the Association.

                                             F. Waiver

       156.    Waiver is the intentional relinquishment of a known right.

       157.    In the event that any number of Defendants are found to have a contractual right to

not be members of the Association, Defendants have intentionally relinquished such right.

       158.    If such right to not be members of the Association exists, Defendants knew or

should have known of its existence through recorded documents from the time each Defendant

purchased his or her lot.

       159.    Defendants (and their predecessors in title) have intentionally relinquished any such

right by virtue of their conduct since 1978, or such later time that each Defendant purchased their

lot, through (a) acceptance of the Association’s services; (b) use of the Amenities; (c) participation

in the Association’s meetings, events, and activities; (d) payment of budget-based fees, dues and

assessments; (e) execution of adjoining lot agreements or key agreements; and (f) voting in

Association matters.

       160.    The conduct of Defendants’ predecessors in title is imputed to Defendants, and

Defendants stand in the shoes of their predecessors.

       161.    Under the doctrine of waiver, Defendants should be declared members of the

Association.

                                     G. Statute of Limitations

       162.    An action for breach of contract must be commenced within three years after a

party’s discovery that a breach exists.




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        163.    If any number of Defendants are found to have a contractual right to not be

members of the Association through documents recorded with the Oconee Clerk or Oconee ROD,

Defendants are barred from pursuing that contractual right under South Carolina’s three-year

statute of limitations.

        164.    If such right to not be members of the Association exists, Defendants knew or

should have known of its existence through recorded documents from the time each Defendant

purchased his or her lot.

        165.    Any Defendants having a contractual right not to be a member of the Association

should have asserted that right within three years of the later of (a) the date of that Defendant’s

purchase of his or her or its lot, or (b) the adoption of the 2003 Bylaws, but Defendants did not

make any such assertion.

        166.    The conduct of Defendants’ predecessors in title is imputed to Defendants, and

Defendants stand in the shoes of their predecessors.

        167.    Defendants are now barred from asserting the rights they claim under contract to

deny membership in the Association, pursuant to the Statute of Limitations.

                        FOR A SECOND CAUSE OF ACTION
    (Declaratory Judgment Based on Equitable Principles that All Defendants Must Pay
               Budget-Based Dues, Fees and Assessments to the Association)

        168.    Plaintiff incorporates the allegations of the preceding paragraphs of this Complaint

as if set forth herein verbatim.

        169.    This action is brought pursuant to the Declaratory Judgment Act, 28 U.S.C. § 2201,

et seq., and Rule 7001 of the Federal Rules of Bankruptcy Procedure.

        170.    Based upon the practices of Plaintiff since 1994, including the governance over the

owners of Mountain Bay Lots, there is no basis for denying such members voting rights in Plaintiff,




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and Plaintiff will be seeking an amendment to its Bylaws granting full voting membership in

Plaintiff to the owners of Mountain Bay Lots.

       171.    Based, in part, on the granting of full voting membership to the owners of the

Mountain Bay Lots, Plaintiff seeks a declaratory judgment from the Court that all Defendants must

pay annual budget-based dues, fees and assessments to Plaintiff in order to enable Plaintiff to

remain solvent and meet its annual approved budget.

       172.    The Court’s grant of the relief sought herein would amount to maintaining the status

quo, because Plaintiff has charged all or nearly all Defendants (or their predecessors in title)

budget-based dues, fees and assessments since 1994, and the vast majority of Defendants (with

certain adjustments in the assessments for the owners of Mountain Bay Lots) have paid these

budget-based dues, fees and assessments since that time.

       173.    Based on the significant variations in language on the payable amount of fees, dues

and assessments between the recorded (a) 1972 Lakeshore Restrictions, (b) 1978 Foxwood

Restrictions, (c) 1979 Foxwood Restrictions, (d) various deeds Foxwood Corporation used to

convey lots to third parties from 1978 through the 2000s, and (e) 2011 Bylaws, Plaintiff seeks

equitable, rather than contractual, relief to accomplish its goals in this adversary proceeding.

       174.    The 1972 Lakeshore Restrictions and 1978 Foxwood Restrictions were deficient

for reasons including, without limitation, their provision for payment of assessments in fixed

amounts, for perpetuity, without any adjustment for inflation or increased maintenance costs.

These perpetual fixed amounts did not provide for an adequate source of funding for the Amenities,

or for the operation of the Amenities.

       175.    The 1972 Lakeshore Restrictions and 1978 Foxwood Restrictions also failed to

include an amendment provision.




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       176.    It violates the maxims and principles of equity for any Defendant to now claim that

he, or she, or it is not required to pay budget-based fees, dues and assessments to the Association.

Since at least 1978, all owners have (a) had certain membership rights within the Association, (b)

had the right to use and enjoy the Amenities, and (c) experienced appreciation in their property

values because of the existence and right of access to the Amenities. None of these benefits would

be possible if the owners did not pay budget-based fees, dues and assessments.

       177.    Since 1994, the Association has charged budget-based fees, dues and assessments

to all or nearly all owners, with certain adjustments made with respect to owners of Mountain Bay

Lots. These assessments are charged to the owners in order to enable the Association to remain

solvent and meet its annual approved budget.

       178.    Since 1994, the vast majority of Defendants have paid these budget-based dues,

fees and assessments.

       179.    A finding that Defendants’ payment of budget-based fees, dues and assessments to

the Association is not automatic and required, but instead voluntary, would result in: (a) the

collapse of the Association, (b) loss of the preservation and maintenance of the Amenities, (c)

economic waste of the millions of dollars owners, including most Defendants, have invested in the

Association for decades, and (d) reduction in Defendants’ property values.

       180.    A finding that some Defendants, but not all, are required to pay budget-based fees,

dues and assessments to the Association would result in the inequitable shifting of this financial

burden to those Defendants to enable the Association to remain solvent and meet its annual

approved budget.

       181.    The following equitable principles or maxims support this cause of action: (a)

quantum meruit/implied contract; (b) equitable contribution; (c) perpetual contracts are




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unreasonable and disfavored; (d) changed circumstances; (e) course of dealings/course of

performance; (f) laches; (g) promissory estoppel; (h) equitable estoppel; (i) waiver; and (j) statute

of limitations.

                               A. Quantum Meruit/Implied Contract

          182.    Plaintiff conveyed a benefit upon Defendants for the last twenty-seven (27) or more

years by furnishing the Amenities and other services to Defendants. Plaintiff continues to provide

the benefits to Defendants, for which Plaintiff will not be paid if Defendants are found to not be

required to pay budget-based fees, dues and assessments.

          183.    Defendants knowingly and voluntarily accepted and enjoyed the benefit of the

services Plaintiff provided. Defendants’ knowledge and notice of their obligation to pay budget-

based fees, dues and assessments to Plaintiff is evidenced by:

                  (a)    Defendants’ knowledge that they were purchasing lots in the Community,

which constitutes a “common-interest community”;

                  (b)    Defendants’ constructive notice and duty of inquiry, by reason of the (i)

extensive private roads, common areas and other Amenities in existence when Defendants bought

their properties, (ii) statements in Defendants’ chains of title, and (iii) HUD-1 property reports

given to each Defendant prior to their purchases that Defendants were purchasing property in a

“common-interest community” which was, or would be, governed by the Association in which

they would be required to be a member, and that they would have an obligation to contribute to

defray the costs of the Association and Amenities; and

                  (c)    Defendants’ knowledge of the Association’s approval of the annual budget,

and yearly payment of fees, dues and assessments to sustain the Association’s ability to meet this

budget.




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       184.    At the time Plaintiff furnished services to Defendants, Plaintiff reasonably expected

such services and Amenities to be provided in exchange for payment of budget-based fees, dues

and assessments, not lesser amounts. Defendants voluntarily and knowingly accepted the services

furnished by Plaintiff with full knowledge and reason to know that Plaintiff expected Defendants

to pay budget-based fees, dues and assessments.

       185.    Certain Defendants have wrongfully and without justification contended that they

are not required to pay budget-based fees, dues and assessments. A finding that all Defendants are

not required to pay budget-based fees, dues and assessments to the Association would result in (a)

collapse of the Association, (b) loss of all preservation and maintenance of the Amenities, (c)

economic waste of the millions of dollars owners, including most Defendants, have invested in the

Association for decades, and (d) reduction in Defendants’ property values.

       186.    If Defendants are held to not be required to pay budget-based fees, dues and

assessments after receiving substantial benefits over the years Defendants have owned lots in the

Community, Defendants will be unjustly enriched.

       187.    The conduct of Defendants’ predecessors in title is imputed to Defendants, and

Defendants stand in the shoes of their predecessors.

       188.    Under the equitable principle of quantum meruit, Defendants should be required to

pay budget-based fees, dues and assessments to Plaintiff.

                                   B. Equitable Contribution

       189.    An owner in a common-interest community is required to pay an equitable portion

of the cost to maintain common areas, in addition to administrative expenses.

       190.    All Defendants in good standing have been allowed to use the Association’s

Amenities throughout the time they have been lot owners in the Community.




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       191.    The conduct of Defendants’ predecessors in title is imputed to Defendants, and

Defendants stand in the shoes of their predecessors.

       192.    Throughout the history of the Association, the owners of the Mountain Bay Lots

have paid less in annual assessments than other owners because the owners of the Mountain Bay

Lots have been treated as non-voting members. As stated above, Plaintiff now requests as part of

the relief granted herein that this status be changed immediately, such that all Defendants, and

their successors and assigns in title, are deemed full members of the Association with the same

voting rights. For this reason, Plaintiff further requests a declaration that owners of Mountain Bay

Lots no longer be charged a lesser portion of the budget-based fees, dues and assessments, and that

they pay the same annual fees, dues and assessments as all other owners in the Community.

       193.    The doctrine of equitable contribution requires that each Defendant, as a

beneficiary of the Amenities, pay his or her or its equitable portion of the costs incurred by Plaintiff

to preserve and maintain the Amenities.

       194.    This equitable portion Defendants must pay should be the annual budget-based

fees, dues and assessments.

                  C. Perpetual Contracts Are Unreasonable and Disfavored

       195.    The assessment language in the 1972 Lakeshore Restrictions and 1978 Foxwood

Restrictions provided for payment of assessments in fixed amounts, for perpetuity, without any

adjustment for inflation or increased maintenance costs. These perpetual fixed amounts did not

provide for an adequate source of funding for the Amenities, or for the operation of the Amenities.

       196.    Perpetual contracts are disfavored under South Carolina law and are generally

upheld only where the perpetual nature of the agreement is an express term of the contract.




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       197.    The perpetual nature of the fixed assessments is not an express term of the 1972

Lakeshore Restrictions or 1978 Foxwood Restrictions.

       198.    Where the parties to a contract express no period for its duration, and no definite

time can be implied from the nature of the contract or the circumstances surrounding them, it

would be unreasonable to impute to the parties an intention to make a contract binding perpetually.

       199.    Accordingly, based on the doctrine that Courts disfavor perpetual contracts,

Defendants should be required to pay budget-based fees, dues and assessments.

                                   D. Changed Circumstances

       200.    In the over four decades since the recording of the 1972 Lakeshore Restrictions and

1978 Foxwood Restrictions, the Community, all owners, and the Association have experienced

such significant changes so as to render the fixed assessment language therein oppressive to the

Association.

       201.    Upon information and belief, Lakeshore and the Foxwood Corporation did not

calculate these fixed annual assessments as a means to cover the needs of the Association several

decades into the future, but, instead, these developers intended to entice third-parties to purchase

lots in the Community.

       202.    The fixed assessments stated in the 1972 Lakeshore Restrictions and 1978

Foxwood Restrictions are woefully inadequate to allow Plaintiff to pay the much higher

subsequent costs to preserve and maintain the Amenities and the operating costs of the Amenities.

The fixed assessments are woefully inadequate as a source to allow Plaintiff to remain solvent and

meet its annual approved budget.

       203.    Based on the doctrine of changed circumstances, the fixed assessment language in

the 1972 Lakeshore Restrictions and 1978 Foxwood Restrictions should be annulled, terminated




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and declared unenforceable. In place of the fixed assessment language, Defendants should be

required to pay budget-based fees, dues and assessments.

                        E. Course of Dealings/Course of Performance

       204.    Plaintiff has charged budget-based fees, dues and assessments to all or nearly all

owners in the Community (with certain adjustments in the assessments for owners of Mountain

Bay Lots) since 1994. The 2003 Bylaws and 2011 Bylaws (the Bylaws currently in effect)

expressly provide for all owners in the Community to pay budget-based fees, dues and

assessments.

       205.    Even prior to the members’ approval of the 2003 Bylaws, the 1978 Bylaws

provided for the owners’ payment of reasonable dues and assessments and reasonable use fees for

facilities owned by the Association.

       206.    The vast majority of all Defendants have paid the budget-based fees, dues and

assessments charged to them since 1994.

       207.    The conduct of Defendants’ predecessors in title is imputed to Defendants, and

Defendants stand in the shoes of their predecessors.

       208.    The doctrines of course of dealings and course of performance are recognized to

accomplish equity. These doctrines are also recognized in The Restatement (Second) of Contracts

§ 223, and S.C. Code Ann. § 36-1-303.

       209.    Under the doctrines of course of dealings and course of performance, all Defendants

should be required to pay budget-based fees, dues and assessments.




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                                           F. Laches

       210.    “Laches ” is an equitable doctrine defined as neglect for an unreasonable and

unexplained length of time, under circumstances affording opportunity for diligence, to do what

in law should have been done.

       211.    Plaintiff has charged budget-based fees, dues and assessments to all or nearly all

owners in the Community (with certain adjustments in the assessments for owners of Mountain

Bay Lots) since 1994. The 2003 Bylaws and 2011 Bylaws (the Bylaws currently in effect)

expressly provide for all owners in the Community to pay budget-based fees, dues and

assessments.

       212.    Even prior to the members’ approval of the 2003 Bylaws, the 1978 Bylaws

provided for the payment of reasonable dues and assessments and reasonable use fees for facilities

owned by the Association.

       213.    The vast majority of all Defendants have paid the budget-based fees, dues and

assessments charged to them since 1994.

       214.    The conduct of Defendants’ predecessors in title is imputed to Defendants, and

Defendants stand in the shoes of their predecessors.

       215.    The over two decades during which budget-based fees, dues and assessment were

not questioned suffice as neglect by Defendants for an unreasonable and unexplained length of

time, under circumstances affording opportunity for diligence, wherein Defendants have been

treated as members of the Association, receiving all rights, obligations, and benefits therewith.

Defendants now taking the position that they are not required to pay budget-based fees, dues and

assessments should be barred under the equitable doctrine of laches.




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                                    G. Promissory Estoppel

       216.    Defendants’ (and their predecessors in title) conduct since 1994, or such later time

that each Defendant purchased his or her or its lot, through payment of budget-based fees, dues

and assessments, evidences Defendants’ unambiguous promise to pay budget-based fees, dues and

assessments.

       217.    Plaintiff reasonably relied on Defendants’ (and their predecessors in title)

unambiguous promise since at least 1994 by continuing to provide services to all Defendants,

including, without limitation, preserving and maintaining the roads and the Amenities pursuant to

the annual approved budget.

       218.    Plaintiff’s reliance on Defendants’ (and their predecessors in title) unambiguous

promise to pay budget-based fees, dues and assessments is to be expected and foreseeable by

Defendants. Otherwise, Plaintiff would be unable to perform the services it is charged with,

including maintenance of the roads, common areas and Amenities, or to remain solvent and meet

its annual approved budget.

       219.    If Defendants are held to not be required to pay budget-based fees, dues and

assessments, the Association would sustain injury through reliance on Defendants’ (and their

predecessors in title) promise. Such injury would come in the form of: (a) collapse of the

Association, (b) loss of the preservation and maintenance of the Amenities, (c) economic waste of

the millions of dollars owners, including most Defendants, have invested in the Association for

decades, and (d) reduction in Defendants’ property values.

       220.    The conduct of Defendants’ predecessors in title is imputed to Defendants, and

Defendants stand in the shoes of their predecessors.




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       221.    Accordingly, based on the equitable principle of promissory estoppel, Defendants

should be required to pay budget-based fees, dues and assessments to the Association.

                                       H. Equitable Estoppel

       222.    In its broadest sense, equitable estoppel is a means of preventing a party from

asserting a legal claim or defense that is contrary or inconsistent with his or her prior action or

conduct.

       223.    Defendants’ (and their predecessors in title) conduct since 1994, or such later time

that each Defendant purchased his or her or its lot, through payment of budget-based fees, dues

and assessments, evidences a false representation or concealment of material facts, if Defendants

never believed themselves to be required to pay budget-based fees, dues and assessments or never

intended to continue paying budget-based fees, dues and assessments.

       224.    Defendants intended for Plaintiff to act upon Defendants’ (and their predecessors

in title) conduct since 1994, or such later time that each Defendant purchased their lot, by Plaintiff

continuing to provide services to Defendants, including, without limitation, preserving and

maintaining the roads, common areas and the Amenities.

       225.    If Defendants never believed themselves to be obligated to pay budget-based fees,

dues and assessments or never intended to continue paying budget-based fees, dues and

assessments, they had knowledge of that fact and concealed it from Plaintiff.

       226.    Plaintiff had no knowledge or means of obtaining knowledge that Defendants

considered themselves to not be obligated to pay budget-based fees, dues and assessments, if

Defendants believed that to be true.

       227.    Plaintiff relied upon the conduct of Defendants (and their predecessors in title)

evidencing Defendants’ obligation to pay budget-based fees, dues and assessments by continuing




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to provide services to Defendants, including, without limitation, preserving and maintaining the

roads, common areas and the Amenities.

         228.   Plaintiff’s incurrence of expenses and obligations, and its adoption of the annual

approved budget of expenses, constitute prejudicial changes in position it took based on

Defendants’ (and their predecessors in title) conduct evidencing Defendants’ obligation to pay

budget-based fees, dues and assessments since 1994.         Plaintiff would not have undertaken

obligations it now has upon it had it known that Defendants would later maintain that they are not

obligated to pay budget-based fees, dues and assessments.

         229.   The conduct of Defendants’ predecessors in title is imputed to Defendants, and

Defendants stand in the shoes of their predecessors.

         230.   Accordingly, based on the equitable principle of equitable estoppel, Defendants

should be declared members of the Association.

                                             I. Waiver

         231.   Waiver is the intentional relinquishment of a known right.

         232.   In the event that any number of Defendants are found to have a contractual right to

not pay budget-based fees, dues and assessments, Defendants have intentionally relinquished such

right.

         233.   If such right to not pay budget-based fees, dues and assessments to the Association

exists, Defendants knew or should have known of its existence through recorded documents from

the time each Defendant purchased his or her lot.

         234.   Defendants have intentionally relinquished any such right by virtue of their conduct

since 1994, or such later time that each Defendant purchased their lot, through payment of budget-

based fees, dues and assessments.




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        235.    The conduct of Defendants’ predecessors in title is imputed to Defendants, and

Defendants stand in the shoes of their predecessors.

        236.    Under the doctrine of waiver, Defendants should be required to pay budget-based

fees, dues and assessments.

                                      J. Statute of Limitations

        237.    An action for breach of contract must be commenced within three years after a

party’s discovery that a breach exists.

        238.    If any number of Defendants are found to have a contractual right to not pay budget-

based fees, dues and assessments through documents recorded with the Oconee Clerk or Oconee

ROD, Defendants are barred from pursuing that contractual right under South Carolina’s three-

year statute of limitations.

        239.    If such right to not pay budget-based fees, dues and assessments exists, Defendants

knew or should have known of its existence through recorded documents from the time each

Defendant purchased his or her lot.

        240.    Any Defendants having a contractual right to not pay budget-based fees, dues and

assessments should have asserted that right within three years of the later of: (a) the date of that

Defendant’s purchase of his or her or its lot, or (b) the adoption of the 2003 Bylaws, but Defendants

did not make any such assertion.

        241.    The conduct of Defendants’ predecessors in title is imputed to Defendants, and

Defendants stand in the shoes of their predecessors.

        242.    Defendants are now barred from asserting any rights they claim under contract to

deny payment of budget-based fees, dues and assessments, pursuant to the Statute of Limitations.




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                               FOR A THIRD CAUSE OF ACTION
                                      (Quantum Meruit)

          243.   Plaintiff incorporates the allegations of the preceding paragraphs of this Complaint

as if set forth herein verbatim.

          244.   Plaintiff conveyed a benefit upon Defendants for the last twenty-seven (27) or more

years by furnishing the Amenities and other services to Defendants. Plaintiff continues to provide

the benefits to Defendants, for which Plaintiff will not be paid if Defendants are found to be non-

members or found to not be required to pay budget-based fees, dues and assessments.

          245.   Defendants knowingly and voluntarily accepted and enjoyed the benefit of the

services Plaintiff provided.       Defendants’ knowledge and notice of their membership within

Plaintiff, use of the Amenities and other services Plaintiff provided, and obligation to pay budget-

based fees, dues and assessments to Plaintiff is evidenced by:

                 (a)    Defendants’ knowledge that they were purchasing lots in the Community,

which constitutes a “common-interest community”;

                 (b)    Defendants’ constructive notice and duty of inquiry, by reason of the (i)

extensive private roads, common areas and other Amenities in existence when Defendants bought

their properties, (ii) statements in Defendants’ chains of title, and (iii) HUD-1 property reports

given to each Defendant prior to their purchases that Defendants were purchasing property in a

“common-interest community” which was, or would be, governed by the Association in which

they would be required to be a member, and that they would have an obligation to contribute to

defray the costs of the Association and Amenities; and

                 (c)    Defendants’ knowledge of the Association’s approval of the annual budget,

and yearly payment of fees, dues and assessments to sustain the Association’s ability to meet this

budget.



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       246.    At the time Plaintiff furnished services to Defendant, Plaintiff reasonably expected

such services and Amenities to be provided only to (a) members of the Association, not non-

member third-parties, and (b) in exchange for payment of budget-based fees, dues and

assessments, not lesser amounts.

       247.    Defendants voluntarily and knowingly accepted the services furnished by Plaintiff

with full knowledge and reason to know that Plaintiff expected Defendants to be members of the

Association, and to have all the rights and obligations related thereto, and Plaintiff expected

Defendants to pay budget-based fees, dues and assessments.

       248.    Certain Defendants have wrongfully and without justification contended that they

are not members of the Association and not required to pay budget-based fees, dues and

assessments. A finding that (a) Defendants’ membership in the Association is not automatic and

required, but instead voluntary, or (b) all Defendants are not required to pay budget-based fees,

dues and assessments to the Association, would result in (i) collapse of the Association, (ii) loss

of all preservation and maintenance of the Amenities, (iii) economic waste of the millions of

dollars owners, including most Defendants, have invested in the Association for decades, and (iv)

reduction in Defendants’ property values.

       249.    A finding that some Defendants are not members of the Association or not required

to pay budget-based fees, dues and assessments would result in the inequitable shifting of the full

financial burden to the remaining members, while non-members’ use of the Amenities would be

effectively subsidized.

       250.    If Defendants are held to not be members of the Association or not required to pay

budget-based fees, dues and assessments after receiving substantial benefits over the years

Defendants have owned lots in the Community, Defendants will be unjustly enriched.




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        251.   The conduct of Defendants’ predecessors in title is imputed to Defendants, and

Defendants stand in the shoes of their predecessors.

        252.   Under the equitable principle of quantum meruit, Defendants should be declared

members of the Association and required to pay budget-based fees, dues and assessments to

Plaintiff.

                          FOR A FOURTH CAUSE OF ACTION
      (Reformation of the 1972 Lakeshore Restrictions and 1978 Foxwood Restrictions)

        253.   Plaintiff incorporates the allegations of the preceding paragraphs of this Complaint

as if set forth herein verbatim.

        254.   The 1972 Lakeshore Restrictions were recorded by Lakeshore and set forth

covenants and restrictions that ran with the lots in Sections A, B, C, D, and F. Lakeshore solely

and exclusively set forth these covenants and restrictions stated in the 1972 Lakeshore Restrictions.

        255.   The 1978 Foxwood Restrictions were recorded by the Foxwood Corporation and

set forth covenants and restrictions that ran with the lots in Sections G, I, L, M, Hatteras I and

Homestead. The Foxwood Corporation solely and exclusively set forth these covenants and

restrictions stated in the 1978 Foxwood Restrictions.

        256.   Plaintiff has standing and sufficient privity to reform the 1972 Lakeshore

Restrictions and 1978 Foxwood Restrictions as the party to whom assessments must now be paid.

        257.   By including a flat, perpetual assessment figure in the 1972 Lakeshore Restrictions

and 1978 Foxwood Restrictions, which failed to contemplate an adequate source of funding for

the privately maintained roads, common areas, recreational facilities, and other facilities and

amenities of the Community, and administrative costs related thereto, Lakeshore and the Foxwood

Corporation committed a unilateral mistake.




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       258.    By failing to address membership in the Association, the owners being subject to

the Association’s Bylaws, and the need for owners to pay budget-based fees, dues and assessments,

Lakeshore and the Foxwood Corporation committed a unilateral mistake.

       259.    Lakeshore and the Foxwood Corporation’s unilateral mistakes were accompanied

by extraordinary circumstances showing imbecility. Enforcing these provisions of the 1972

Lakeshore Restrictions and 1978 Foxwood Restrictions, which have not been followed or enforced

for decades, would cause a great wrong.

       260.    The flat, perpetual assessment figure clearly shows Lakeshore and Foxwood

Corporation did not account for these figures to cover the future needs of the Association, but,

instead, was intended to entice third-parties to purchase lots in the Community. Four decades later,

this is clearly a unilateral mistake accompanied by extraordinary circumstances showing

imbecility.

       261.    Lakeshore and the Foxwood Corporation’s failure to address membership in the

Association, the owners being subject to the Association’s Bylaws, and the need for owners to pay

budget-based fees, dues and assessments in the 1972 Lakeshore Restrictions and 1978 Foxwood

Restrictions is, four decades later, a unilateral mistake accompanied by extraordinary

circumstances showing imbecility.

       262.    The flat, perpetual assessments stated in the 1972 Lakeshore Restrictions and 1978

Foxwood Restrictions are woefully inadequate to allow Plaintiff to pay the much higher

subsequent costs to preserve and maintain the Amenities and the administrative costs related to the

Amenities. Enforcing the perpetual, flat assessment language would be a great wrong and lead to

(a) the collapse of the Association, (b) loss of the preservation and maintenance of the Amenities,




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(c) economic waste of the millions of dollars owners, including most Defendants, have invested in

the Association for decades, and (d) reduction in Defendants’ property values.

       263.    Reformation of the 1972 Lakeshore Restrictions and 1978 Foxwood Restrictions to

remove the perpetual, flat assessment language, and add language providing that (a) all lot owners

are members of the Association, (b) all lot owners are subject to the Association’s Bylaws, and (c)

all lot owners shall pay budget-based fees, dues and assessments is just and proper under the

equitable principle of reformation.

                          FOR A FIFTH CAUSE OF ACTION
 (Rescission/Cancellation of the Assessment Language in the 1972 Lakeshore Restrictions
                              and 1978 Foxwood Restrictions)

       264.    Plaintiff incorporates the allegations of the preceding paragraphs of this Complaint

as if set forth herein verbatim.

       265.    The 1972 Lakeshore Restrictions were recorded by Lakeshore and set forth

covenants and restrictions that ran with the lots in Sections A, B, C, D, and F. Lakeshore solely

and exclusively set forth these covenants and restrictions stated in the 1972 Lakeshore Restrictions.

       266.    The 1978 Foxwood Restrictions were recorded by the Foxwood Corporation and

set forth covenants and restrictions that ran with the lots in Sections G, I, L, M, Hatteras I and

Homestead. The Foxwood Corporation solely and exclusively set forth these covenants and

restrictions stated in the 1978 Foxwood Restrictions.

       267.    Plaintiff has standing and sufficient privity to rescind or cancel the perpetual, flat

assessment language stated in the 1972 Lakeshore Restrictions and 1978 Foxwood Restrictions as

the party to whom assessments must now be paid.

       268.    By including a flat, perpetual assessment figure in the 1972 Lakeshore Restrictions

and 1978 Foxwood Restrictions, which failed to contemplate an adequate source of funding for




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the privately maintained roads, common areas, recreational facilities, and other facilities and

amenities of the Community, and administrative costs related thereto, Lakeshore and the Foxwood

Corporation committed a unilateral mistake.

       269.     The flat, perpetual assessment figure clearly shows Lakeshore and Foxwood

Corporation did not account for these figures to cover the future needs of the Association, but,

instead, was intended to entice third-parties to purchase lots in the Community.

       270.     The flat, perpetual assessments stated in the 1972 Lakeshore Restrictions and 1978

Foxwood Restrictions are woefully inadequate to allow Plaintiff to pay the much higher

subsequent costs to preserve and maintain the Amenities and the administrative costs related to the

Amenities.

       271.     These are strong and extraordinary circumstances which would make it a great

wrong to enforce the assessment language in the 1972 Lakeshore Restrictions and 1978 Foxwood

Restrictions.

       272.     Rescinding or canceling the perpetual, flat assessment language in the 1972

Lakeshore Restrictions and 1978 Foxwood Restrictions returns the parties to the status quo

because Defendants (and their predecessors in title) have been paying budget-based fees, dues and

assessments to Plaintiff since 1994, and the fee assessment language has not been followed or

enforced for decades.

       273.     Rescinding or canceling the perpetual, flat fee assessment language in the 1972

Lakeshore Restrictions and 1978 Foxwood Restrictions is proper.




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                                FOR A SIXTH CAUSE OF ACTION
            (Declaration that the Relief Granted Hereunder Also Applies to the John Doe,
                              Richard Roe and Steven Stoe Defendants)

       274.      Plaintiff incorporates the allegations of the preceding paragraphs of this Complaint

as if set forth herein verbatim.

       275.      Defendant John Doe is a designated class of possible defendants consisting of any

and all heirs and assigns of Defendants, and any other transferees of the Defendants’ interest which

are not of record with the Association, including any person who may be in the military service of

the United States of America.

       276.      Defendant Richard Roe is a designated class of possible defendants consisting of

any unknown minors or persons under disability, including incompetent persons.

       277.      Defendant Steven Stoe is a designated class of possible defendants consisting of

any spouses, former spouses, relationship partners and family members of any named Defendant

who believe that he, she, or it owns an interest in any property within the Community, such as a

co-interest with a named Defendant, including any person who may be in the military service of

the United States of America.

       278.      The Association is informed and believes that any persons within the John Doe,

Richard Roe and/or Steven Stoe designated classes of defendants are subject to the same relief as

granted to Plaintiff with respect to the other Defendants.

       WHEREFORE, Plaintiff prays for an Order of this Court:

       1.        Declaring that all Defendants are members of the Association;

       2.        Declaring that all Defendants must pay budget-based fees, dues and assessments to

the Association;




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       3.        Declaring that Defendants would be unjustly enriched, under the doctrine of

quantum meruit, if Defendants are held to not be members of the Association or not required to

pay budget-based fees, dues and assessments;

       4.        Reforming the 1972 Lakeshore Restrictions and 1978 Foxwood Restrictions to

remove the perpetual, flat assessment language, and add language providing that (a) all lot owners

are members of the Association, (b) all lot owners are subject to the Association’s Bylaws, and (c)

all lot owners shall pay budget-based fees, dues and assessments;

       5.        Rescinding or canceling the perpetual, flat assessment language in the 1972

Lakeshore Restrictions and 1978 Foxwood Restrictions;

       6.        Granting judgment in favor of Plaintiff declaring that the relief granted above as to

other Defendants also applies to the John Doe, Richard Roe and Steven Stoe defendants; and

       7.        Granting such other and further relief as the Court deems just and proper.




                                                  /s/ Julio E. Mendoza, Jr.
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